Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 1 of 32




                        EXHIBIT A
                                              Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 2 of 32




                                                                                                                                                                                                                                                          -   .


Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                    Page 31 ou
                                    Tran            Trim                                                                                                     Escrow
Source   Tran Date      Back Date   Amount          Code   Tran Dec           Process   Process Desc      Due Paid       Prin Paid         Int Paid          Paid          Late Paid     Ins Paid   ITAF/Siisp      Other Paid Escrow Bal Prin Bal

CITA                                                       Unapplied Funds                                                       .00                  .00                                                   -2,06
                                                                           -
                                                           Mellon Chicago,
an         06/14/2013                   950.00         112 IL,               36         Mellon-Chicago      06/01/2013        310.54           431,80                                                                              743,60    137,866.84
OTA                                                        ESC 80                                                                .00                  .00        205.60
                                                           Mellon Chicago,
CITA                                                       11.                          Mellon-Chicago                           .00 F                .00
                                                                              -                       ,

GTA                                                        Unapplied Funds                                                       .00                  .00                                                    2,06

                                                           Beginning
GTA        06/01/2013                   538.00         140 Escrow Balance                                                        .00                  ,00        538.00                                                            538.00

                                                           DIsbursemen t:Es
CONY       05/14/2013                    -55.93        210 crow Only        '                               05/01/2013           .00                  .00        -55.93 -                                                                    138.177.38
                        '
CONY       05/03/2013                   947,94         100 Payment:Cash                                     05/01/2013        309.57            432.77           205.60                                                                      138.177,38

                                                           Payment: late
CONY       05/03/2013                   (226 .         160 Chrg OnlY-Cash                                   05/01/2013           ,00                  ,00                         2.06                                                       138,486.95
                                          .
                                                           Disbursement:Es
CONY       04/11/2013                    -55.93        210 crow Only                                        04/01/2013           .00                  .00        -55,93                                                                      138,486.95

CONY       04/05/2013                   947.94         100 Payment:Cash                                     04/01/2013        308,60            433.74           205.60                                                                      138,486,95

                                                           Payment:Latc
CONY       04/05/2013                        2,06      160 Chrg Only-Cash                                   04/01/2013           .00                  ,00                         2.06                                                       138.795,55

                                                           Disbursement: Es
CONY       03/14/2013                    -55,93        210 crow Only                                        03/01/2013           ,00                  .00        -55.93                                                                      138,795,55

CONY       03/08/2013                    975.09        100 Payment:Cash                                     03/01/2013        306,39            435.95           232,75                                                                      138,795.55

                                                           Paymont;Late
CONY       03108/2013                        4,91      160 Chrg Only-Cash                                   03/01/2013_              ,00              .00                         4,91                                                       139,101.94
                                                                                                                                                             r                                                                           -

CONY       02/15/2013                    975,09        100 Payrnent;Cash                                    02/01/2013        306,69            435.65 ,         232,75                                                                      139,101,94

                                                           Disbursement:Es
CONY       02/15/2013                    -55.93        210 crow Only                                        02/01/2013               .00              .00.        -55.93                                                                     139,408.63
                                    -                                                                                                                                                               _
                                                           Payment:Late
CONY       02/15/2013                         .91      160 Chrg Only-Cash                                   02/01/2013               .00              .00                          .91                                                       139,408,63
                                              Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 3 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                         Page 30 oL
                                     Ti-an            Iran                                                                                                          Escrow
Source   Iran Date       Back Date   Amount           Code       Iran Dcsc             Process   Process Desc     Due Paid       Prin Paid         Int Paid         Paid          Late Paid      Ins Paid   11AF/Susp   Other Paid Escrow BM Prin nal


CIA                                                              Late Fcc Amount                                                          .00                 .00                        2.06

                                                             Disbursement:Es                     Esc Dish-
CIA        08/19/2013                    -545.00         210 crow Only       1, 7                I Ward/Fire                              .00                 .00                                                                      391.87     137.240,78
CIA                                                              ESC 80                                                                   .00                 .00      -545,00                              .

                                                             Disbursement:Es
CIA        08/15/2013                     -54.00         210 crow Only       02                  Esc Disb-FM1                             ,00                 .00                                                                      936.87     137,240.78
CIA                                                          ESC 80                                                                       .00                 .00       -54.00
                                                             Mellon Chicago,
GTA        08/09/2013                    950.00          112 IL              36                  Mellon-Chicago     08/01/2013        312,49            429.85                                                                         990.87     137,240,78
CIA                                                              ESC 80                                                                      ,00              .00       205.60
                                                             -                                                                                     _

GM                                                               Late Fee Amount                                                             .00              .00                        2,06
                                                             _                                                                        .
                                                             Disbursement:Es
CIA        07/26/2013                     -54.00         210 VOW Only        G2                  BC DISb.PMI                                 .00              .00                                                                      785.27 ,   137,553.27
                        ,                      -
CIA                                                              ESC 80                                                                      ,00              .00       -54,00

                                                             Disbursement:Es
CIA        07/26/2013,                    -54,00         210 crow Only         02                Esc Disb-PM1                                .00              .00                                                                      839.27     137,553,27
                                                                             -                                                   -
(HA                                                          ESC 80                                                                          .00              .00       -54,0C
                                                             Mallon Chicago,
GTA        07/12/2013                     950.00         112 IL              36                  Mellon-Chicago     07/01/2013        311.51            430,83                                                                         893.27     137,553.27
CIA                                                              F.SC 80                                                                     .00              .00       205,60                                                     -

()TA                                                             Late Fen Amount                                                             .00              .00                         2.06

                                                             Disbursement:Es
CIA        06/21/2013                     -55.93         210 crow Only       02                  Esc Disb-PM1                                .00              .00                                                                      687,67     137,864,78
GTA                                                              ESC 80                                                                      .00              .00        -55.93
                        .                                                          -

                                                                                                 UA.17
                                                                 PaymentiPrin                    AUTOMATED
                                                                 Only-Unappl led                 TRANS-PMTS
CIA -      06/14/2013,                        2.06 A20           F undS          UF              & REV              06/14/2013            2,06                .00                                                                       743.60    137,864,78
                                                                                                 UAF
                                                                                                 AUTOMATED
                                                             Disbursement:Lin                    TRANS-PMTS
CIA        06/14/2013                         -2.06      218 applied Funds    UF                 & REV               07/01/2013              ,00               .00                                                                      743.60     137,866.64
                                               Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 4 of 32




Ditectl History: 38461075 History Time Period: All                                                                                                                                                                                                               Page 29 ol

                                         Iran           Trio                                                                                                            Escrow
Source       Iran Date       Back Date   Amount         Code   Trio Desc         Process   Process Desc              Due Paid         MI Paid         Int Paid          Paid          Late Paid       Ins Paid       UAF/Susp   Other Paid Escrow Bal Prin BM
                                                                                                               ...
CIA                                                            -ESC 80                                                                       ,00                 .00      , 205.6


GTA                                                            Late Fee Amount                                                               .00                 ,00                        52,06

                                                               Disbursement: Es
CITA           12/23/2013                     -54,00       210 crow Only        02         Esc Disb-PM1
                                                                                                                                      .      ,00                 .00
                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                 -8.39   135,981.05
         -
GTA                                                             ESC 80                                                                       ,00                 .00        -$4.01
                                                               •Mellon Chicago.
GTA            12/03/2013                    950.00        112 IL               36         Me11011-Chicago               12/01/2013       316,41          425.93                                                                                45.61    135,981.05
GTA                                                            F.SC 80                                                                       .00                 .00        205.61                                              _

GTA                                                            Late Fee Amount                                                               ,00                 ,00                         2.06                                                                 .

                                                               DisbtirscmermEs
GTA            11/21/2013                     -54.00       210 crow Only       02          Esc Diab-PM1                                         .00              ,00                                                                           -159,99   136,297,46
CIA                                                             ESC 80                                                                          .00              ,00         -54, 0
                                "                               Mellon Chicago,
GTA            11/08/2013                     950.00       112 IL               36         Mellon-Chicago_               11/01/2013       315,42\_         426,92                                                                              -105,99   136,297,46
                                                              .                                                                                                                                                  .
GTA                                                             ESC 80                                                                          .00              ,00        205. 0

CITA                                                           Late Pee Amount                                                                  .00              .00                         2,06                                          ,


                                                               Disbursement:Es
GTA            10/24/2013                     -54,00       210 crow Only       02          Esc DIsh-PMI                                         .00              ,00                                                                           -311.59   136,612.88
GTA                                                            ESC 80                                                                           .00              ,00         -54.10
                                                               Mellon Chicago,
GTA            10/11/2013                     950,00 ,     112 IL             ..
                                                                                 36        Mellon-Chicago                10/01/2013       314.44           427,90                                                                              -257.59   136,612.88
GTA                                                            ESC 80                                                                           ,00              ,00        205,60
                                                                                                                .,                                                                4

MA                                                             Late Fee Amount                                                                  .00              ,00                          2,06
                                                                                                                                                                                     ..

                                                               Disbursement:Es             Esc Di sb-
GTA            10/08/2013                   -1,006.66      210 orovlOolY       E7          County                                               .00              .00                                                                           -463.19   136,927.32
GTA                                                             ESC 80                                                                          ,00              .00      -1,00666
                                                                                           _                         .

                                                               Disbursement:Es
GTA                                            -54,00                          02              Esc Dittb-PM1                                                                                                                                             136,927.32
             , 09/18/2013                                  210 crow Only
                                                                                                                 _                              .00              .00                                                                            543.47
                                                               ESC 80                                                                                                              '
GTA                                                                                                                                             .00              .00         -54.00                                       .
                                                               Mellon Chicago,
GTA      •      09/12/2013                    950,00       112 IL              36              Mellon-Chicago            09/01/2013       313.46           428.88                                                                               597.47   136,927.32
MA                                                              ESC 80                                                                          .00               .00        205,60
                                             Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 5 of 32




Ditech History: 38461075 History Time Period: Ali                                                                                                                                                                                                        Page 28 c
                                         Trstn         Train                                                                                                   Escrow
Source   l'ran Date      Back Date       Amount        Code    Ti-an Desc        Process   Process Dec      Due Paid       Prin Paid         Int Paid          Paid         Late Paid     Ins Paid       UAF/Susp       Other Paid Escrow Bal Prin Bal

GTA                                                            Lute Fee Amount                                                     .00                  .00                      151.95
                                                                                           UAF
                                                                                           AUTOMATED
                                                               Disbursement:Un             TRANS-PMTS
OTA        03/05/2014                      -1,099.89       218 applied Funds   LIP         & REV              03/01/2014           .00                  ,00                                                                            294.81    134341.91

GTA                                                            Unapplied Funds _                                                   .00                  ,00                                                 -1,099.89
                                                                                                                       -
                                                               Mellon Chicago,
CITA       03/05/2014                        950.00        112 11,             36          Mellon-Chicago                          .00                  .00                                                                            294.81    134,341.91

OTA                                                            Unapplied Funds                                                     .00                  .00                                                   950,00
                                                               Mellon Chicago,
OTA        02/24/2014                       1,099,89       112 1/,               36        Mellon-Chicago     02/01/2014        321.52            420.82                                                                               294,81    134341.91
                                                                               ,                                                                                                                     ,
0Th                                                            ESC 80                                                              .00 ,                .00        205.60
                                                               Mellon Chleago,
G.TA                                                           IL                          Mellon-Chicago                          .00                  .00
                                                                                                                       -              -
                                                       '
CITA                                                           Unapplicd Funds                                                     .00                  ,00                                                   151,95
                                                                                           NSF-
CITA       02/20/2014        2/17/2014     -l.09989 N00        NSF:Pymt-Cash N8            SPEEDPAY           02/01/2014       -321.52           -420.82                                                                                 89,21   134,663.43
CIA                                                            ESC 80                                                                  .00              .00       -20560

OTA                                                            Late Fee Amount                                                         ,00              ,00                     -151.95

                                                               DisbursementiEs
GTA        02/19/2014                         -54.00       210 crow Only       02          Esc Disb-PMI                                .00              .00                                                                            294.81    134.341.91
OTA                                                            ESC 80                                                                  ,00              .00        -5400
(TEA       02/17/2014                       1,099,89       109 SPecdPaY          57        Speedpaty- -       02/01/2014        321.52            420.82                                                                                348,81   134,341.91
arA                                                            rise 80                                                                 .00              ,00        205 60

CITA                                                           Late Fee Amount                                                         .00              .00                      151,95

                                                               Disburs-ementiEs
OTA        01/21/2014                         -54.00       210 crow Only        02         Esc Dish-PM'                                .00              .00                                                                             143.21   134463.43
UFA                                                          ESC 80                                                                    .00              .00         -5400
                                                             Adjustment: Pm                No Iran Cat
()TA        01/02/2014                           .00 ADJ     &lilt           NC            Needed             02/01/2014               .22              -.22                                                                            197,21   134,663.43
                                                             Payment;Prin                  HMP Incentive
GTA         01/02/2014      12/31/2013      1,000,00     120 Only-Cash       C7            Credit             12/31/2013       1,000.00                 ,00                                                                             197.21   134,663.65
                                                             Mellon Chicago.
OTA         12/31/2013                      1.000,00    112 IL               36            Mellon-Chicago     01/01/2014        317.40            424.94                                                                                197.21   135,663.65
                                          Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 6 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                       Page 27 c
                                     Iran             Tran                                                                                                   Escrow
Source   'Fran Date      Back Date   Amount           Code   Tran Desc          Process       Process Den      Due Paid       Prin Paid     hit Paid         Paid               Late Paid   Ins Paid   1.1AF/Susp      Other Paid Escrow Bal Prin Bal

OM                                                           Unapplied Funds                                                          .00              .00                                                     3.39
                                                                                              UAF
                                                                                              AUTOMATED
                                                             Payment:Unappli                  TRANS-PMTS
CIA        04/30/2014                    976,61          118 ed Funds        UP               & REV              04/01/2014        323.54       418,80                                                                                626.68   133,693.79
GTA                                                          ESC 80                                                                   .00              .00       234.27
                                                                                              UAF
                                                                                              AUTOMATED
                                                             Disbursement:Un                  TRANS-PMTS
CIA        04/30/2014                    -976,61         218 applied Funds   UP               & REv              04/01/2014           .00              .00                                                                            392.41   134,017.33

CIA                                                          Unapplied Funds                                                          ,00              .00 _                                                -976.61
                                                                                                                                                                      -
CIA        04/30/2014                     26,61          109 SpccdPitY          57            Speedpay                                .00              .00                                                                            392.41   134,017.33

GM                                                           Unapplied Funds                                                          .00              .00                                                    26.61

                                                             Disbursement:Es
CIA        04/21/2014                     -54.00         210 crow Only       02               Esc Disb-PM1                            .00              ,00                                                                            392,41   134,017,33
CIA                                                          ESC 80                                                                   .00              .00       -54 00
                                                             Mellon Chicago,
CIA        04/09/2014                    950.00          112 IL              36               Mellon-Chicago                          .00              ,00                                                                            446,41   134,017.33

OM                                                           Unspoiled Funds                                                          .00              .00                                                   950.00

                                                             Disbursement:Es
OTA        03/13/2014                     -54.00         210 crow Only       02               Esc Disb-PMI                            .00              .00                                                                            446,41   134,017.33
CIA                                                          ESC 80                                                                   .00              ,00       -54. 00,
                                                                            -
                                                                                              UAF
                                                             Payrnent:Prin                    AUTOMATED
                                                             Only-Unapplied                   TRANS-PMTS
GTA         03/05/2014                        2.06 A20       Funds          UP                & REV              03/05/2014          2.06              .00                                                                            500,41   134,017,33
                                                                                              UAF
                                                                                              AUTOMATED
                                                             Disburseinent:Un                 TRANS-PMTS
CIA         03/05/2014                        .2,06      218 applied Funds    LIF             & REV              04/01/2014           .00              .00                                                                            500,41    134,019.39

CIA                                                          Unapplied Funds                                                          ,00              ,00                                                     -2.06
                                                                                          ,                                                                               . .
                                                                                              UAF
                                                                                              AUTOMATED
                                                             Paytnent:Unappli                 TRANS-PMTS
OTA         03/05/2014                  1,099,89         118 ed Funds         UP              & REV              03/01/2014        322,52        419.82                                                                               500.41   134,019.39
GTA                                                          ESC 80                                                                   .00              .00       205 60
                                              Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 7 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                                Page 26 o
                                        Tran           'Fran                                                                                                             Escrow
Source   Iran Date      Back Date       Amount         Code        Trani Dese        Process       Process Desc          Due Paid        Prin Paid     Int Paid          Paid         Late Paid   Ins Paid       UAF/Susp      Other Paid Escrow Bal Prin Bal
                                                                                                                                     _                                            -
                                                                                                   UAF
                                                                                                   AUTOMATED
                                                               Reversal:Disb                       TRANS-PMTS
OTA        05/13/2014        5/8/2014       980.00         718 Unspoiled Funds UF                  & REV                   06/01 /2014           ,00              .00                                                                         860.95    133,365,85

GTA                                                                Unspoiled Funds                                                               .00              .00_                                                980.00
                                                   ,                                 _         .                     .               .
                                                                                                   1./AF
                                                                                                   AUTOMATED
                                                               Reversal:Pymt                       TRANS-PMTS
OTA        05/13/2014        5/8/2014       -980.00        520 Prin Only-Cash        UF            & REV                   05/08/2014        -980.00              ,00                                                                         860.95   133,365,85

CIA        05/13/2014        5/7/2014       -980.00 NO0            NSF;Pyinl-Cash 38               NSF                                           .00              .00                                                                         860.95   132,385.85

CFA                                                                Unspoiled Funds                                                               .00              .00                                                -980,00
                                                                                                   CAP
                                                                   Payment:PrIn                    AuTOMATED
                                                                   Only-Unapplied                  TRANS-PMTS
CIA        05/08/2014                       980.00 A20             Funds          Ur               & REV                   05/08/2014         980.00              .00                                                                         860,95   132,385,85
                                                               ,
                                                                                                   UM
                                                                                                   AUTOMATED
                                                               Disbursement:Un                     TRANS-PMTS
GTA        05/08/2014                       -980,00        218 applied Funds   UF                  & RF.V                  06/01/2014            .00              .00                                                                         860,95    133.365,85

CIA                                                             Unspoiled Funds                                                                  ,00_             .00 _                                              980.00
                                                                                                                  -                                                                                          _
                                                              ' Mellon Chicago,
OTA        05/07/2014                       980,00         112 IL               36                 Mellon-Chicago                                ,00              .00                                                                         860.95    133,365.85

OTA                                                                Unapp Hod Funds                                                               .00              ,00                                                 980,00
                                        .                                                                                                                                             .
                                                                                                   kUM
                                                                   Payment:Prin                    AUTOMATED
                                                                   Only-Unspoiled                  TRANS-PMTS
GTA        05/06/2014                            319 A20           Funds          UF               & REV                   05/06/2014-          339               .00_                                                                        860.95    133,365,85-
                                                                                               .                                                                                                             -
                                    '                                                              1/AF
                                                                                                   AUTOMATES)
                                                               Disbursement:Lin                    TRANS-PMTS
GM         05/06/2014                         -3,39        218 applied Funds    UF                 & REV                   06/01/2014            .00              .00                                                                         860,95    133,369,24

CIA                                                              Unspoiled Funds                                                                 .00              ,00                                                  -3,39 ,
                                                                                                                  .
                                                   '            is,-4elfon Chicago.   --
CIA        05/06/2014                       980,00         112- IL                  36             Mellun•Cillengn         05/01/2014         324,55       417,79                                                                             860,95    133,369.24
                                    .
CIA                                                                ESC 80                                                                        .00              ,00        234.2'
                                                                   Mellon Chicago,
CIA                                                                IL                              Mellon-Chicago                                .00              .00
                                               Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 8 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                                              Page 25 o
                                          Iran             Tran                                                                                                                  Escrow
Source   Iran Date        Back Date       Amount           Code    Tran Desc               Process       Process Desc         Due Paid       Prio Paid         list Paid         Paid           Late Paid       Ins Paid   11.1AF/Susp       Other Paid Escrow Bal Prin Sal
                                                                  A
                                                                                                         OAF
                                                                                                         AUTOMATED
                                                                   Disbursement:Lin                      TRANS-WITS
CIA          07/16/2014                        .339          218 applied Funds             OF            & REV
                                                                                                                        ..      08/01/2014           00,                   ,00                                                                              1,170.77   132.710.29

GTA                                                               Unappliod Funds                                                                    .00                   .00                                                      -3.39
                                                                  Mellon Chicago,
GTA          07/16/2014                       980,00          112 IL              36                     Mellon-Chicago         07/01/2014        326.60            415.74                                                                                  1,170.77   132,710,29
CIA                                                               ESC 80                                                                             ,00                   .00       234.2
                                                                  Mellon Chicago,
CIA                                                               IL                                     Mellon-Chicago                              .00                   ,00

G'rA                                                               Unapplied Funds                                                                   .00                   .00                                                       3,39

                                                                  Disbursement: Ea
GTA          07111/2014                        -52,36         210 crow Only        02                    Esc Disb-FMI                                    .00               .00                                                                               936.50    133,036.89
GTA                                                                    ESC 80                                                                            .00               ,00       -52. 6

                                                                  Disbursement:Es
GTA          06/16/2014                        -52,36         210 crow Only       02                     Esc Disb-PM1                                    .00               .00                                                                                988.86   133,036,89
CIA                                                               ESC 80                                                                                 .00               ,00 ..    -52. • 6
                                      .                         .                                    .                    .                                                                                 .                                                                   .
                                                                                                         1.1AF
                                                                   Payment:Prin                          AUTOMATED
                                                                   Only-Unappiied                        TRANS-PMTS
GTA          06/04/2014                            3,39 is.20      Funds                   1JF         & REV                    06/04/2014           3,39                  .00                                                                              1,041.22   133,036,89
         ,                                                                                                                                                                                                  -.
                                                                                                     - OAF
                                                                                                       AUTOMATED
                                                                    Disbursement:110                     TRANS-PMTS.
GTA          06/04/2014                            .3,39        218 applied Funds    OF                  & REV                  07/01/2014               ,00               .00                                                                              1,041.22   133,040,28
                                                                                                                                                                                          .

CIA                                                                 Unapplied Funds                                                                      ,00               .00                                                       -3,39
                                                                    Mellon Chicago,
MA           06/04/2014                       980,00.           112 IL              36                   Mellon-Chicago         06/01/2014        325,57             416.77                                                                                 1,041,22   133,040.28
                                                                                                                                                       -
CIA                                                                    ESC 80                                                                        ,00                   .00       234.27
                          .               -            -                                                                                     .
                                                                       Mellon Chicago, '
CIA                                                                    IL                                Mellon-Chicago                                  .00               ,00
                                      -                                                                                                                                                                                                                 .

CITA                                                                   llnapplied Funds                                                                  .00               ,00                                                           3,39
                                                       -           -                       -                                                                                     ,

                                                                    Disbursement: Es
GTA          05/20/2014                        -54.00           210 crow Only        02                  Esc Disb-PM1                                    ,00               ,00                                                                                806.95   133.365,85
GTA                                                                    ESC 80                                                                            .00               ,00        .54.001
                                                        Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 9 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                  Page 24 o
                                             Tran          Tran                                                                                                      Escrow
Source        Tran Date      Back Date       Amount        Code      Tran Due           Process       Process Due      Due Paid       Prin Paid     1st Paid         Paid[ate    Paid   Ins Paid   UAF/Susp      Other Paid Escrow Bal Prin Bal

                                                                      Disbursement:Es
CIA             09/17/2014                        -52,36         210 crow Only        (12             Esc Disb-PMI                            .00              .00                                                              882.59    132.047.21
                                                                     -
G1'A                                                                  ESC 80                                                                  .00              .00      -52.36
                                                                      Mellon Chicago,
CIA             09/16/2014                       980,00          112 IL               36              Mellon-Chicago     09/01/2014        328.67       413,67                                                                  934.95    132,047.21
GM                                                                   ESC 80                                                                   .00              .00      234,27
                                                                     Mellon Chicago,-
CITA                                                                 IL                               Mellon-Chicago                          .00              ,00

CIA.                                                                 Unapplicd Funds                                                          .00              .00                                        3.39

                                                                     Disbursement:Es
CITA            08/19/2014                        .52,36         210 crow Only       02               Esc Disb-PM1                            .00              .00                                                              700.68    132,375.88
         ..                              .                                                                                        -
GTA                                                                  ESC 80                                                                   .00              ,00      -52.36
                                                           -
                                                                                                      UM'
                                                                     Payment;Prin                     AUTOMATED
                                                                     Only-Unapplied                   TRANS-PMTS
GTA             08/15/2014                            3.39 A20       Funds          OF                & REV              08/15/2014          3.39              .00                                                              753.04    132,375.88
                                                                                                      tJAF
                                                                                                      AUTOMATED
                                                                     Disbursement:Un                  TRANS-PMTS
GTA             08/15/2014                         -3.39         218 applied Funds   Ur               & REV              09/01/2014           .00              .00                                                              753.04    132,379,27

CIA                                                                  Unapplled Funds                                                          .00              ,00                                       -3,39
                                                                     Mellon Chicago,
GM              08/15/2014                       980,00          112 IL              36               Mollon-Chicago     08/01/2014        327.63       414,71                                                                  753,04    1.32.379.27
CIA                                                                  ESC 80                                                                   .00              .00      234.27
                                                                     Mellon Chicago,
CM                                                                   IL                               Mellan-Chleago                          .00              ,00

GM                                                                   Unapplied Funds                                                          .00              .00                                        3,39
                                                                                                  ,

                                                                     Disbursement:Es                  Esc DIsb-
CIA             07/28/2014                       .652,00         210 Crow Only       F7               I lazard/Fire                           .00              .00                                                              518.77    132,706.90
0Th                                                                  ESC 80                                                                   ,00              .00     -652,00
                                                                                                      OAF
                                                                     Payment;Prin                     AUTOMATED
                                                                     Only-Unapplicd                   TRANS-PMTS
GM             07/16/2014                             3,39 A20       Funds          OF                & REV              07/16/2014          3.39              ,00                                                             1,170,77   132,706.90
                                                     Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 10 of 32




-Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                              Page 23 c
                                            Iran          Tran                                                                                                   Escrow
Source   Tran Date      Back Date           Amount        Code       Trait Deft        Process   Process Dec      Due Paid       Prin Paid      Int Paid         Paid          Late Paid   ins Paid     ILIAP/Susp       Other Paid Escrow Bal Prin Bal

                                                                 Disbursemcnt:Es
CIA        11/21/2014                            -52.36      210 crow Only       02              Esc Dish-PM1                            .00               .00                                                                          241,72         131,386.80
GTA                                                                  ESC 80                                                              .00               .00       -52.36
                                                                                                 UAF
                                                                                                 AUTOMATED
                                                                 Payment:Unappli                 TRANS-PMI'S
OTA        11/17/2014                           976.61       118 cd Funds        UF              & REV              11/01/2014        330.72        411.62                                                                              294,08         131,386.80
                                    ,.                                                                                                                                     ,                                                       ,
CIA                                                                  ESC 80                                                              .00               .00       234,27
                                                                                                 1.1AF
                                                                                                 AUTOMATED
                                                                Disbursement:Un                  TRANS-PMTS
CIA        11/17/2014                           -976.61     218 applied Funds   UF               & REV              11/01/2014           .00               .00                                                                            59.81        131,717.52

CIA                                                              Unapplind Funds                                                         ,00 ,             .00                                               -976.61
                                                      .          -
                                                                 Mellon Chicago,
CIA        11/17/2014                           980.00       112 11,             36              Mellon-Chicago                          .00               .00                                                                            59,81        131,717.52
                                    .                          -                                                             .
CFA                                                                  Unspoiled Funds                                                     .00               .00 -                                              980.00
                                                                                                 IMF
                                                                                                 AUTOMATED
                                                                 hymen Unappli                   TRANS-PMTS
MA         10/17/2014                           976.61       118 cd Funds      1JF               & REV              10/01(2014        329,69        412,65 _                                                                              59.81        131.717,52
                                        -
aTA                                                                  ESC 80                                                              ,00               .00       234,27
                                                                                                 UAF
                                                                                                 AUTOMATED
                                                                Disbursement:11n                 TRANS-PMTS
CIA        10/17/2014                          -976,61      218 applied Funds    liF             & REV              10/01/2014           .00,              .00                                                                          -174,46        132,047.21
                                    .

CIA                                                                  UnapplIcd Funds                                                     .00               .00                                                -976,61
                                                                 --gallon Chicago.                                                                                                                    (..--) .., ..",
CIA        10/17/2014                           980,00       112 11.                   36        Mellon-Chicago                          ,00               .00                                        t ''''%,":' /                     -174.46        132,047.21

CIA                                                                  Unapplied Funds                                                                                                                  \-.-...- --""
                                                                                                                                         .00               .00                                                  980,00

                                                                Disbursement:Es
CIA        10/13/2014                           -52,36      210 crow Only       02               Esc 1)isb-PM1                           ,00               .00                                                                          -174.46        132,047.21
                                    -
()TA                                                                 ESC 80                                                              .00               .00       -52,36

                                                                      Disbursement:Es            F.se Dish-                                                                                                                                        .
GTA        10/01/2014                         -1.004.69     2 I ..0.f crow Only       E7         County                                  ,00               .00                                                                          -1 22,10       132.047.21
                                    -
CITA                                                                 ESC 80                                                              .00               .00     -1,004.69
                                               Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 11 of 32




Dltech History: 38461075 History Time Period: All                                                                                                                                                                                                            Page 22 o
                                          Iran            Iran                                                                                                         Escrow
Source   Iran Date        Back Date       Amount          Code   Tram Desc             Process   Process nese     Due Paid         Prin Paid          Int Paid         Paid         Late Paid   Ins Paid   IIAF/Susp      Other Paid Escrow Bal PrIn Bal
                                                                                                 LJAF
                                                                                                 AUTOMATED
                                                                 Disbursement:Un                 TRANS-PMTS
CITA       01/16/2015                          -16,95        218 applied Funds   UF              & REV                02/01/2015           .00                   .00                                                                        657,90   129,722.02

OTA                                                              Unapplied Funds                                                            .00                  ,00                                             -16.95
                                                                                                 UA1'
                                                                                                 AUTOMATF.D
                                                                                                                                                          ,.'
                                                                 Payment:Unappll                 TRANS-PMTS
GM        • 01/16/2015-                        976.61        lig ad Funds        UF              & REV                01/01/2015     ( 33302, (409,32                                                                                       657,90   129,722.02
                                                    ...                            -                                                              ...                                                                                   ,
CITA                                                             ESC 80                                                               ,,,,,„... .00   ,.. , AO             234,27
                                                                                                 'UM,
                                                                                                 AUTOMATED
                                                                 Disbursement:Un                 TRANS-PMTS
CITA       01/16/2015                         -976.61        218 applied Funds   UF              & REV                01/01/2015            .00                  .ao                                                                        423.63   130,055.04

OTA                                                              Unapplled Funds                                                            .00                  .00                                            -976.61
                                                                 Mellon Chi6ago,
OTA        01/16/2015                          980.00        112 11-             36              Mellon-Chica3o                                .00               .00                                                                        423.63   130,055.04

GTA                                                              Unapplied Funds                                                               .00               .00                                             980.00
                                                                 Payment:Prin                     FIMP Incenaie
GTA        01/01/2015        12/31/2014       1,000,00       120 Only-Cash       C7               Credit              12/31/2014       1,000,00                  ,00                                                                        423.63   130,055.04
                                          ,                                                      ,                                                                                                                                  -
                                                                                                   LIAN
                                                                                                   AUTOMATED
                                                                 Payment:Unappli                   TRANS-PMTS
OTA        12/17/2014                          976,61        118 ed Funds        UF                & REV              12/01/2014        331,76             410,58                                                                           423,63   131,055.04
GTA                                                              ESC 80                                                                        ,00-              ,00       234 27                                         ,
                                                                                   .                              -
                                                                                                 UAF
                                                                                                 AUTOMATED
                                                                 Disburseinent:Un                TRANS-PMTS
GTA        12/17/2014                         -976.61        218 applied Funds    kW             & REV                12/01/2014               .00               ,00                                                                        189,36   131,386.80
                                          '
OTA                                                               Unapplicd Funds                                                              .00               .00                                            -976.61
                                                                 •MclIon Chicago,
()TA       12/17/2014                          980.00        112 IL               36             Mellon-Chicago                                .00               .00                                                                        189,36   131,386,80

GTA                                                              Unveiled Funds                                                                ,00               .00                                             980.00
                                                                                       ,                          -

                                                                 DisburseinemEs
G'rA        12/11/2014                          -52.36       210 Crow Only      02               Esc Dish-NMI                                  ,00                .00                                                                       189.36   131,386,80
Gl'A                                                             ESC 80                                                                        .00                .00       -52.36
                                              Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 12 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                                 Page 23. c
                                          Tran          Tran                                                                                                            Escrow
Source   Iran Date        Back Date       Amount        Code   Tran Desc         Process       Process Desc         Due Paid        Prin Paid          Int Paid         Paid          Late Paid       Ins Paid   1.1AF/Susp      Other Paid Escrow Hal Prin Sal


                                                               Disbursement:Es
OTA          04/20/2015                        -52,36      210 crow Only       G2              Esc Disb-PMI                                 ,00                   ,00                                                                           917.00    129,030.00
                                                    -                                      -                    _
GTA                                                            ESC 80                                                                       .00                   .00       -52.:56
                                                                                               UA.F
                                                                                               A UTOM Arm)
                                                               Payment:Unappli                 TRANS-PMTS
GTA          03/17/2015                       976,61       118 td Funds        UT              & REV                  03/01/2015         338,06            404.28                                                                               969.36    129,030,00
CIA                                                            ESC 80                                                                       .00                   .00       234.27
                                                                                           - UM
                                                                                               AUTOMATED
                                                               Dishursement:Un                 TRANS-PMTS
GTA          03/17/2015                       -976,61      218 applied Funds   UP              & REV                  03/01/2015            .00                   .00                                                                            735.09   129,368.06
                                                               r
CIA                                                            Unappl lad Funds                                                                 ,00               .00                                                  -976,61
                                                               Mellon Chicago.'
GTA          03/17/2015                       980.00       112 IL               36             Mellon-Chicago                               .00                   .00                                                                            735.09   129.368.06
         _                                                                                                                     .                                                      .

crra                                                           Unappliud Funds                                                                  .00               .00                                                   980.00

                                                               Disbursement:Es                                                                                                                    .
CIA          03/16/2013                        -52.36      210 crow Only       (32             Esc DIsb-PM1                                     ,00               .00                                                                            735,09   129,368.06
                                      .                                                                                                                             1
GTA                                                            ESC 80                                                                           .uo               ,00        -5236
                                                                                                                                                                     A

                                                               Disbursement:Es
C'I'A        02/18/2013                        -52.36 ,.   210 crow Only       G2              Esc Disb-PM1                                     .00               ,00                                                                            787.45   129.368,06
GTA                                                            -ESC 80                                                                          .00               .00        -5236                               .
                                                               Mellon Chicago,-
CIA          02/17/2015 ..,                    980.00      112 IL               36             Mellon-Chicago         02/01/2015         337,01             405,33                                                                               839.81   129,368,06
GTA                                                            ESC 80                                                                           ,00               .00       23 .27
                                                               Mellon Chicago,
WA                                                             IL                              Mellon-Chicago                                   .00,              .00
                                                                                 _                                                  -

CiTA                                                           Unapplied Funds                                                                  .00               .00                                                     3.39

                                                               Disbursemcnt:Es
CIA          01/19/2015                        -52,36      210 crow Only       G2              Esc DIsb-PM1                                     .00               .00                                                                            605,54   129,705.07
CIA                                                            liSC 80     -                                                                    .00               .00        -5 .36
                          -                                                                                     .
                                                                                               UAF
                                                               Payment:Prin                    AUTOMATED
                                                               Only-Unapplied                  TRANS-PMTS
GTA          01/16/2015                            16,95 A20   Funds          UP,              & REV                   01/16/2015          16,95                  .00                                                                            657.90   129,705,07
                                               Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 13 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                Page 20 o
                                          Tran           Tran                                                                                    Escrow
Source   Tran Date        Back Date       Amount         Code   Tran Desc         Process       Process Desc Due Paid     Prin Paid Int Paid     Paid             Late Paid     Ins Paid       1./AF/Susrt      Other Paid Escrow Bat Prin Bat
                                                                                                UAF
                                                                                                AUTOMATED
                                                                Payment:Unappli                 TRANS-PMTS
GTA          05/15/2015                         36.77       118 ed Funds        UF              & REV          06/01/2015          .00       .00                                                                              1,297.34   128,384.70

GTA                                                             Late Fee Amount                                                    .00           .00                    36,77
                                                                                                UAF
                                                                                                AUTOMATED
                                                                Disbursement:Un                 TRANS-PMTS
C1TA         05/15/2015                        -36,77       218 applied Funds   UF              & REV              06/01/2015      ,00           .00                                                                          1,297.34   128.384.70

GTA                                                             Unapplicd Funds                                                    Am            .00                                                  -36,77
                                                                                                UAF
                                                                                                AUTOMATED
                                                                Payment:Unappli                 TRANS-PMTS
GTA          05/15/2015                      1,005,75       118 ed Funds        UP              & REV
                                                                                                                 , 05/01/2015   306.114       509.40 _                                     .                                  1,297.34   128,384.70
GTA                                                             ESC 80                                                             .00           .00     190,17
                                                                                                UAF                                                               .
                                                                                                AUTOMATED
                                                                Disbursement:11n                TRANS-PMTS
GIA          05/15/2015                      -1,005,7$      218 applied Funds    UF             & REV              05/01/2015      .00           .00                                                                          1,107.17   128,690,88
                                                                                            '
CITA                                                            Unapplied Funds                                                    .00           .00                                                -1.005.75
                                                              ' Mellon Chicago.                                                           ,
OTA          0$/15/2015                        990.00       112 IL              36              Mellon-Chicago                     ,00           .00                                                                          1,107,17   128,690,88

GTA                                                             Unapplied Funds                                                    .00           .00                                                  990,00
                                                                                                UAF
                                                                                                                                                                                                                                 •
                                                                                                AUTOMATED
                                                                Paymeat;Unappl1                 TRANS-PMTS
G'I'A    j   04/21/2015                        932,51       118 ed Funds        UF              & REV              04/01/2015   339,12        403.22                                                                          1,107.17   128,690.88
GTA                                                             ESC 80                                                              .00          ,00     190.17
                                                                                                UAF
                                                                                                AUTOMATED
                                                                Disbursement:lin                TRANS-PM'rS
oTA          04/21/2015                        -932.51      218 applied Funds    UF             & REV              04/01/2015       .00           ,00                                                                           917.00   129,030,00

()TA                                                            Unapplied Funds                                                     .00          .00                                                  -932,51
                                                                -Mellon Dallas,
GTA          04/21/2015       4/20/2015        980.00       114 TX                A3            Mellon-Dallas                       .00           .00                                                                           917,00   129,030.00

GTA                                                             Unapplied Funds                                                     .00           .00                                                  980.00
                                          Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 14 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                                    Page 19 c
                                     Tran             Iran                                                                                                                 Escrow
Source   Iran Date       Back Date   Amount           Code       Trait Dese        Process       Process Desc         Due Paid         Prin Paid          Int Paid         Paid          Late Paid   Ins Paid   UAF/Susp          Other Paid Escrow Bal Priu Sal
                                                                                                 UAF
                                                                                                 AUTOMA'I'ED
                                                             Payment:Unappli                     TRANS-PMTS
CITA       07/1712015                    1,005.75        118 ed Funds        UF                  & Rriv                   07/01/2015            308.61         506.97                                                                           1,574,92     127.766.94
G'I'A                                                            ESC 80                                                                            .00               ,00       190. 7
                                                                                                 1.1AF                                                                                                           --
                                                                                                 AUTOMATF.D
                                                             Dis1,ursement:1,ln                  TRANS-PMI'S
G'TA       07/17/2015                    -1,005.75       218 applied Funds      UF               & REV                    07/01/2015               .00               .00                                                                        1,384.75     128,075.55

GTA                                                          Unapplicd Funds                                                                       .00               .00                                              -1,005.75
                                                             Mellon Chicago,                                                           '
GTA        07/17/2015                    1,006,00        112 IL              36                  Mellon-Chicago                                    ,00               .00                                                                        1,384.75     128.075.55

CITA                                                             Unapplied Funds                                                                   ,00               ,00                                              1,006.00                          -

                                                            ' Disbursement:Es
GTA        06/18/2015                      -50,40        210 crow Only        (32.               Esc Dish-PMI                                      ,00               ,00_                                                                       1,384.75 _ 128,075.55
                                                                                             ,                                                                                       '
GTA                                                          F.SC 80                                                                             . .00               .00       -50 40
                                                                                             .
                                                            -Mellon Chicago, '
GTA        06/17/2015                     1,006.00       112 IL               36                 Mellon-ChIcago           06/01/2015       ..   307,40         508.18                                                                           1,435.15     128,075.55
CITA                                                             ESC 80                                                                              0               .00       190,17
                                                                 Mellon Chicago.
GTA                                                              IL                              Mellon-Chicago                                    .00               .00

CITA                                                             Unapplied Funds                                                                   ,00               ,00                                                    .25
                                                             .                                   -                                                    .

                                                             Disbursament:F,s
GTA        05/20/2015                       -52.36       210 crow Only        02                 Esc Olsb-FMI                                      .00,              ,00                                                                        1,244,98     128.382.95
                                                                                                                      -
GTA                                                              ESC RO                                                                            .00               ,00        42,36
                                     ,                       -                                                    ,
                                                                                                 UAF
                                                                 Payment:PrIn                    AUTOMATED
                                                                 Only-Unapplied                  TRANS-PMTS
GTA        05/1 5/2015                        1,75 A20           Funds             UF            & REV                    05/15/2015              1,75               .00                                                                         1,297,34    128,382.95
                                                                                             .                                                                                                       ,                            .
                                                                                                 IMF
                                                                                                 AUTOMATED
                                                             Disbursement:Un                     TRANS-PMTS
GTA        05/15/2015                         -1,75      218 applied Funds   UF                  & REV                                             ,00               .00                                                                         I .297.34   128,384.70,

CITA                                                             Unapplicd Funds                                                                   .00               .00                                                  -1,75
                                              Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 15 of 32




Ditech Ilistory: 38461075 History Time Period: All                                                                                                                                                                                                              Page 18 o
                                     Tran             Tran                                                                                                            Escrow
Source   Tran Date       Back Date   Amount           Code       Iran Desc         Process       Process Desc         Due Paid         Prin Paid     Int Paid         PaId         Late Paid       ill, Paid   CAF/Susp         Other Paid Escrow Bal Prin BM
GTA                                                              ESC 80                                                                        .00              .00       190.17
                                                                 Mellon Chicago,
CIA                                                              IL                              Mellon-Chicago                                .00              .00
                                                      _      -                                                        ,

GTA                                                              Unspoiled Funds                                                               .00              .00                                                       .25

                                                              Disbursement: Es
OTA        08/21/2015                       -50.40        210 crow Only        02                Esc Disb.FM1                                  .00              .00                                                                            966.29   127.456.35
                                                                                             ,                        ,
CIA                                                              ESC 80                                                                        .00              .00       -50.40
                                                                                                 OAF
                                                                 Payment:Prin                    AUTOMATED
                                                                 Only-Unapplied                  TRANS-PMTS
CIA                                            .75 A20           Funds             UP            & REV
         , 08/13/2015                            .           -                                                            08/13/2015           .75              ,00
                                                                                                                                                                                   -                                            .
                                                                                                                                                                                                                                             1,016.69   127,456.35
                                                                                                 OAF ,
                                                                                                 AUTOMATED
                                                              Disbursement:Un                    TRANS-PMTS
CIA        08/1 3/2015                        ..,75       218 applied Funds   OF                 & REV                    09/01/2015           ,00              .00                                                                          1,016.69   127,457.10
                                                                                                                                                                                   .           -                            -

MA                                                               Unapplied Funds                                                               .00              .00                                                    -.75
                                                                                                 OAF        '
                                                                                                 AUTOMATED
                                                              Faymen1:1 lnappli                  TRANS-PMTS
CIA        08/13/2015                     I ,005.75       118 ed Funds          1.1F             & REV                    08/01/2015        309.84 _      505.74                                                                             1,016.69   127,457.10
                                                            -
                                     '
OTA                                                           ESC 80                                                                           ,00              ,00       190,17
                                                                                                 OAF
                                                                                                 AUTOMATED
                                                              Disbursement.:Un                   TRANS-PMTS
CIA        08/13/2015                    -1,005.75        218 applied Funds    OF                & REV                    08/01/2015           .00              ,00                                                                            826.52   127,766,94
                                                                                                                  ,

GTA                                                           Unapplied Funds                                                                  .00              ,00                                               -1,005,75
                                                  -                                                                   ,                                                            -
                                                              Mellon Chicago,
()TA       08/13/2015                    1,006,00         11211..              36                Mellon-Chicago                                .00              ,00_                                                                           826.52   127,766.94
                                                                             -                                                                                                 .

GM                                                               Unapplied Funds                                                               .00              .00                                                1,006.00

                                                               Disbursement:Es                   Esc Disb-
O'FA       07/27/2015                     -698.00-        210- crow Only       F7                Huard/Fire                                    .00              ,00                                                                            826.52   127.766,94
                                                                                                                      .
CIA                                                            ESC 80                                                                          .00              .00      -698.00
                                                                                                                      .                                                                            .

                                                              DisbursementEs
CIA        07/22/2015                      -50,40         210 crow Only      02                  Esc Disb-PM1                                  .00              .00                                                                          1,524.52   127,766,94
CIA                                                              ESC 80                                                                        ,00              .00       -50.40
                                                  Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 16 of 32




Ditech History: 38461075 History Time Period: AU                                                                                                                                                                                                                         Page 17 o
                                         Tran             'Fran                                                                                                              Escrow                                               I
Source   Tran Date           Back Date   Amount           Code        Iran Die          Process       Process Dese         Due Paid         Prin Paid       Int Paid         Paid           Late Paid       Ins Paid   UAP/Susp       Other Paid Escrow Bal Prin Bal
                                                     -                                                                                                                   -

                                                                 Disbursement:Es
CITA       11/16/2015                         -50.40         210 crow Only       02                    Esc Dish-PM1                                 .00                .00                                                                            -67.66    126,832.48
GTA                                                                   ESC 80                                                                        .00                .00       -50.40
                                                                                                      UAF
                                                                      Paymenl:Prin                    AUTOMATED
                                                                      Only-Unappl ied                 TRANS-PMTS
GTA        10/16/2015                             .50. A20            Funds             UF            & REV                    10/16/2015           .50                ,00                                                                            -17.26    126,832.48
                                                                  -
                                                                                                      UAF
                                                                                                      AUTOMATED
                                                                 Disbursement:Un                      TRANS-PMTS
G'I'A      10/16/2015                             -.50       218 applied Funds   UP                   & REV                                                                                                                                                     126,832.98
                                                                                                                           _ 11/01/2015 _           .00                00                                                                             -17.26

GTA                                                                   Unspoiled Funds                                                               ,00                .00                                                     -.50
                                                    ...                             -                 .
                                                                                                      1,1AP
                                                                                                       AUTOMATED
                                                                 Payment:Unappli                       '1'RANS-PMTS
GTA        10/16/2015                       1,005,75         118 ed Funds        UP                    & REV                   10/01/2015        312,30          503.28                                                                               -17.26    126,832,98
GTA                                                                   ESC 8O                                                                        .00                00        190.17
                                                                                                      ,                                                                                                     .
                                                                                                       1JAF
                                                                                                       AUTOMATED
                                                                 Disbursemenl:Un                       'I'RANS-PM TS
GTA        10/16/2015                      -1,005,75         218 applied Funds - UP                    & any                   10/01/2015           .00                .00                                                                           -207.43    127.145,23

C3TA                                                             Unspoiled Funds                                                                    .00                .00                                                -1,005.75
                     -                               -                                                                 -
                                                                 Mellon Chicago,
GTA        10/16/201.5                      1,006,00         112 IL              36                    Mellon-Chicago                               .00                .00                              ,                                            -207.43    127,145,28

CiTA                                                                  Unspoiled Funds                                                               ,00                .00                                                 1,006.00             ,
                                                     ...                                ,             ..

                                                                 Disbursement:PS
GTA        10/12/2015                         -50,40         210 crew OnlY       02                    Esc Dish-PM1                                     ,00 _          .00                                                                           -207.43    127.145.28
                                                                                                  -
GTA                                                                   ESC 80                                                                        ,00                .00        -50,40
                                                                                                                           -                                                            -                                                        ,

                                                                 Disbursement:Es                      EAC Disb-
Gm         10/08/2015                      -1,263.09         210                 E7                   County
                         ,                                     - crow Only                                                                          .00                .00                                                                           -157,03    127,145,28
C3TA                                                             ESC 80                                                                             .00                .00     -1,263,09
                                                                                                                           ,

                                                                 Disbursement: Es
GTA        09/18/2015                         -50,40         210 crow Only        02                   Esc Dish-PM1                                 .00                .00                                                                           1,106,06   127,145.28
                                                                                                  -                                         .
Ci'l'A                                                           ESC 80                                                                             .00                .00        -50.40
                                                                 Mellon Chicago,                                                                                                                                                                                             1
GTA        09/17/2015                       1,006.00         112 IL              36                   Mellon-Chicago           09/01/2015        311,07          504.51                                                                              1,156,46   127.145,28
                                                        Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 17 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                                             Page 16 c
                                                                                                                                                                                            -
                                                Tran                 Trim                                                                                                        Escrow
Source       Trim Date          Back Date       Amount               Code   Tran Dese              Process   Process Dose         Due Paid       Prin Paid     Int Paid          Paid           Late Paid       Ins Paid   (AP/Soso         Other Paid Escrow Bail Prin Bal
                                                                                                                                                                                           -                                                          -
OTA                                                                         .ESC 80                                                                      .00              .00        190,17
                                                                                                             UAF
                                                                                                             AUTOMATED
                                                                            Disbursement:Un                  TRANS-PMTS
GTA            01/15/2016                           .1,005,75           218 applied Funds   UF               & REV                  01/01/2016           .00              .00                                                                               211.88   126,204.17

GTA                                                                         Unapplied Funds                                                              .00              .00                                                 -1,005,75
                                                                            Mellon Chicago,
()TA           01/15/2016                            1,006,00           112 IL              36               Mellon-Chicago                              .00              .00                                                                               211,88   126,204,17

VITA                                                                        Unapplied Funds                                                              .00              .00                                                  1,006.00
                                                             .
                                                                                                                                                                                                                `
                                                                           Disbursement:Es
GM             01/14/2016           1/13/2016 _        -50.40          210 crow Only       02                Esc Disb-PM1                                .00              .00,                                                                              211,88   126,204,17
                         -                                  .                                                                 •

VITA                                                                        ESC 80                                                                       ,00              .00        -50.40.
                                                                                                                                             .
                                                                                                             UAF
                                                                                                             AUTOMATED
                                                                           Paymentlinappli                   TRANS-PMTS
VITA           12/17/2015                           1,005,75           118 ed Funds        UP                & REV                  12/01/2015        314.78        500,80                                                                                  262,28    126.204.17
                                                .          ..
GTA                                                                         ESC BO                                                                       ,00              ,00        190,17
                                                                                                                                                                                          ...
                                                                                                             UM
                                                                                                             AUTOMATED
                                                                           Disbursement:Un                   TRANS-PMTS
VITA           12/17/2015                           -1.005,75.         218 applied Funds   UF                & REV                  12/01/2015           .00              .00                                                                                72,11    126,518,95
         -                  .                                                                                                                                                               1
oTA                                                                         Unspoiled Funds                                                              .00              ,00                                                 -1,005.75
                                                                                                                                                                                            -
                                                                            Mellon Chicago,
GTA            12/17/2015                           1,006.00            112 11,             36               Mellon-Chicago                              .00              ,00                                                                                72,11    126,518,95
                                            -                                                                                                ,

O'l'A                                                                       Unapplied Funds-                                                             .00              .00                                                  1,006,00
                                                                                               ,                                                                                                            '

                                                                           Disbursement:Es
GTA            12/10/2015                   ,          -50.40          210 crow Only       02                Esc Disb-PM1                                .00              .00                                                                                72.11    126,518.95
                                                             .                                                                                                                             .                ,
GTA                                                                         ESC 80                                                                       .00              .00        -50,40
                                                                            Mellon Chicago,
OTA            11/17/2015                           1,006,00            112 IL                36             Mellon-Chicago         11/01/2015        313,53        502.05,                                                                                 122,51    126,518,95
                                                                 ,                                                                                                                          .
                                                                                            '
VITA                                                                        SSC 80                                                                       .00           .00           190.1 -.
                                                                            Mellon Chicago,
VITA                                                                        IL                               Mellon-Chicago                              ,00              .00

VITA                                                                        Unapplied Funds                                                              .00              .00                                                         .25
                                                 Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 18 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                                        Page 15 o
                                        Tran            Tran                                                                                                                        Escrow
Source   Iran Date      Back Date       Amount          Code       Trail Desc            Process       Process Desc      Due Paid                Prin Paid         lot Paid         Paid         Late Paid   Ins Paid   LIAF/Susp       Other Paid Escrow Bat Prin Sal
                                                                                                       Reverse/Reappl
GTA        02/05/2016       10/4/2015       1,959.90        100 Payment:Cash             50            y - Misc                                          .00                  .00                                                                      592.22    120,550.33

GTA                                                                Unapplied Funds                                                                       ,00                  .00                                           1,959.90
                                                                                                       Rcverse/Reappl
                                                                                                                                         .
GTA        02/05/2016        9/6/2015       1,959.90        100 Payment:Cush             50            y -Misr:                                          ,00                  .00                                                                      592.22    120,550.33

GTA                                                                    Unapplied Funds                                                                   .00                  .00                                           1,959,90
                                                                   ,                                                                         .
                                                                                                       Reversc/Reappl
CIA        02/05/2016        8/5/2015       1,959,90        100 PaYment:Cash             50            y - Misc                                              .00              .00                                                                       592.22   120,550.33
                                                                                                                        .                    .                                               .

GTA                                                                    Unapplied Funds                                                                       .00              .00                                           1,959,90
                                                        -                                                                                    .
                                                                                                       Reversc/Rcappl
MA         02/05/2016        7/5/2015       1,959,90        100 Payment:Cash             50            y•Mise                                            ,00                  .00                                                                       592,22   120.550.33
                                                                                                                                             -

CITA                                                                   Unapplied Funds                                                                       .00              .00                                           1.959.90
                                                                                                       Reverse/Reappl
GTA        02/05/2016        6/6/2015       1,959.90        100 Fayment:Cash             50            y • MI90                                              .00              .00                                                                       592.22   120,550.33


GTA                                                                    Unapplied Funds                                                                       .00              ,00                                            1,959,90
                                        -              -                                 _                              .                                                                    -
                                                                                                       Reversc/Rcappl
CIA        02/05/2016        5/6/2015       1,959.90        100 PaYmentleallil           50            y• Misc                   02/01/2016           337.07            478,51                                                                          592,22   120,550.33
CIA                                                                    ESC 80                                                                                .00              .00_      190.17
                                                                                                       ReversoiReappl
WA                                                                     Payinent:Cash                   y- Misc                                               .00              .00

('ETA                                                           Unapplied Funds                                                                              .00              .00                                             954.15
                                                                Payment:Prin                           HMP Incentive '
CIA        02/03/2016        1/1/2016       5,000,00        120 Only-Cash       C7                     Credit                    01/01/2016          5.000,00                 .00                                                                       402.05   120,887,40
                                                                                                       UAF
                                                                       Payment:Prin                    AUTOMATED
                                                                       Only-Unapplied                  TR ANS-PM'I'S
G'f A      01/15/2016                             .75 A20      -
                                                                       Funds                 UP
                                                                                                   -
                                                                                                       & nv                      01/15/2016                  .75              .00            -
                                                                                                                                                                                                                                                        402.05   125,887.40
                                                                                                       UAF
                                                                                                       AUTOMATED
                                                                DisbursementUn                         TRANS-PMTS
GTA        01/15/2016                            -,75       218 applied Funds  UP                      & REV                     02/01/2016                  ,00              ,00                                                                       402,05   125,888,15

GTA                                                                    Unapplied Funds                                                                       .00               .00                                                  • ,75
                                                                                                                            ..
                                                                                                       UAF
                                                                                                       AUTOMATED
                                                                Payment:Unappli                        TRANS-PMTS
GTA        01/15/2016                       1,005.75        118 cd Funds        UP                     & REV                     01/01/2016            316.02           499.56                                                                          402.05    125,888.15
                                                               Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 19 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                                                             Page 14a
                                                     Tran                 Tran                                                                                                                  Escrow
Source   Train Date      Back Date                   Amount               Code            Tran Dec              Process   Process Desc      Due Paid        Prin Paid         tint Paid         Paid '               Late Paid   Ins Paid   UAF/Susp        Other Paid Escrow Dal Prin Bal


GTA                                                                                          Unapplied Funds                                                        .00                   .00                                                  -1,959.90
                                     /                                                                                    Reverse/Reappl
                                                                                           Reversal:Pymt-                 y-differcnt
crrA       02/09/2016        10/4/2015                      -1,959.90                 500 ,Cash                 49        accounts                                  .00                   .00                                                                              592,22     103,916.98
                                                                                                                                                                                                                 .

OTA                                                                                          Unspoiled Funds                                                        .00                   .00                                                  -1,959.90
                                                                                                                          Reverse/Reappl
                                                                                          Revcrsal:Pymt-                  y-ditTerent
OTA        02/09/2016        11/8/2015                      -1,959,90                 500 Cash                  49        accounts                                      .00               .00                                                                               592,22    103,916.98

OTA                                                                                          Unapplied Funds                                                            .00 _             .00                                                  • 1,959.90
                                                     .                    -                                     -
                                                                                                                          Reverse/Reappl
                                                                                          Reversal:Pymt-                  y-diftrent
OTA        02/09/2016        12/5/2015 ,                     -1,959.90 ,              500 Cash                  49        accounts                                      .00               ,00                                                                               592,22    103,916.98
                                                                                                                                                                                                                 -

GTA                                                                                          Unspoiled Funds                                                            .00               ,00                                                  -1,959,90
                                                                                                                          Iteversc/Roappi
                                                                                          Reversal:Pyrnt-                 y•different
CITA       02/09/2016         I /7/2016                      -1,959,90                500 Cash                  49         accounts                                     .00               ,00                                                                               592.22    103.916.98

GTA                                                                                           Unspoiled Funds                                                           .00               .00                                                  -1,959,90
                                                                              -
                                                                                                                          UM'
                                                                                  \          Payment; Prin                AUTOMATED
                                                                                             Only-Unapplied               TRANS-PMTS
                                         i
(TrA       02/05/2016                        \               16.63335 A2                     Funds                  UP    & REV               02/05/2016       16,633.35                  .00                                                                               592,22    103,916.98
                                                 \                                                                        UAF
                                                                                                                          AUTOMATED
                                                         \-..._„....--"
                                                                                          Disbursemcnt:Un                 TRANS-PMTS
GTA        02/05/2016                                      .16,633,35                 218 applied Funds   UF              & REV                03/01/2016               .00               ,00                                                                               592.22    120,550.33
                                                                     .                                                                                  -

OTA                                                                                           Unspoiled Funds                                                           .00               .00                                                  -16,633,35 ,
                                                                                         -
                                                                                                                          Reversc/Reappl
GTA         02/05/2016        1/7/2016                        1,959.90                100 Payment:Cash              50    y • Misc                                      .00 _             .00                                                                               592.22     120.55033
                                                                                                                                                                                                         -

G'I'A                                                                                         Unspoiled Funds                                                           .00                .00                                                   1,959,90
                                                                                          -
                                                                                                                          Reversc/Reuppl
GTA         02/05/2016       12/5/2015                        1,959.90                100_PayMent:Cash              50    y • Miss                                      .00                .00                                                                              592,22     120,550.33
                         ,

OTA                                                                                           Unapplied Funds                                                           .00                .00                                                   1,959.90
                                                                                                                                                                                                             .
                                                                                                                          Reverse/Respol
()TA        02/05/2016       11/8/2015                        1.959.90                100 Paymcnt:Cash              50    y - Misc                                      .00                .00                                                                               592.22    120550.33

OTA                                                                                           Unspoiled Funds                                                            ,00               .00                                                   1,959.90
                                                  Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 20 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                               Page 13 o

                                        Tram                 Tran                                                                                                          Escrow
Source   Iran Date      Back Date       Amount               Code      Tran Dese             Process   Process Desc       Due Paid      Prin Paid         Int Paid         Paid         Late Paid   Ins Paid   UAF/Susp        Other Paid Escrow Bal Prin BM


CIA                                                                  Unapplied Funds                                                              .00                .00                                                -.25
                                                                     Reversal:Pyint-                   Reverse/Reappl
CIA        02/10/2016       5/15/2015             -990.00        500 Cash            50                y- Mise                                    .00                MO                                                                       402.05    120,887.40

OTA                                                                       Unapplied Funds                                                         .00                .00                                            -990,00
                                        ,
                                                                                                        UAF
                                                                                                        AUTOMATED
                                                                     Reversal:Dish                      TRANS-PMTS
C'I'A      02/09/2016        2/5/2016           16,633,35        718 Unapplied Funds UF                 & REV                03/01/2016_          .00                .00                                                                      402.05    120,887.40

arA                                                                       Unapplied Funds                                                           ,00              ,00                                           16,633.35
                                                                                                         UAF
                                                                                                         AUTOMA'I'ED
                                                                     Reversa1:Pymt                       TRANS-PMTS
OTA        02/09/2016        2/5/2016           46,633.35—       520 Prin 0n1y•Cash          UP          ei REV            02/05/2016       -16.633,35               .00                                                                      402,05    120,887.40
                                                                                                       ,                -.
                                                                                                         Reverse/Reappl
                                                                     Reversal:Pyint-                     y-ditTerent
G'l'A      02/09/2016        5/6/2015            -1,959.90       500 Cash                    49          accounts          02/01/2016          -337.07        -478,51                                                                         402.05    104,254.05

OTA                                                                  ESC 80                                                                         ,00              .00       -190l7
                                                                                                        Reverse/Reoppl
                                                                          Reversal: Pynn-               y-different
GTA                                                                       Cash                          accounts                                    .00              .00            .
                                                            —                                                                           —             .                                                        •

MA                                                                        Unapplied Funds                                                           .00              .00                                             -954,15
                                                                                                        Reversc/Fteappl
                                                                     Reversal;Pyint-                    y-different
OTA        02/09/2016         6/6/2015           -1,959.90       500 Cash                    49         accounts                                    MO               .00                                                                       592,22   103,916.98

GM                                                                        Unapplied Funds                                                           ,00               MO                                           -1,959,90
                                                                                                        Reverse/Reappl
                                                                     Reversal:Pyint-                    y-diffcrent
                                                                 500 Cash                    49         accounts                                    .00               .00                                                                      592,22    103,91698
.OTA       02/09/2016         7/5/2015           -1,959.90
                                                                                                                                                                                            r
CIA                                                                       Unapplied Funds                                                           MO                .00                                           -1,95990
                        -                                             ,                                                  .
                                                                                                         Reverse/Reappl
                                                                        Reversal:Pymt-                   y-clill'erent
CIA        02/09/2016         8/6/2015           -1,959.90—         500 Cash             49              COMM           •,                           00               ,00                                                                      592,22    103.916.98
                                                                                       -                                                                                                ,

CIA                                                                        Unspotted Funds                                                           .00              .00                                           • 1,959,90
                                            .                -                               _
                                                                                                         Reverse/Reappl _
                                                                        Reversal:Pyrnt-                  y-difTerent
GTA        02/09/2016         9/6/2015           -1,95990           500 Cash                  49         accounts                                    ,00              .00                                                                      592,22    103,916.98
                                                  Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 21 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                                                 Page 12c
                                                                        _
                                            Iran                'Iran                                                                                                                Escrow
Source     Iran Date       Back Date        Amount              Code        Tran Desc           Process       Process Desc       Due Paid        Prin Paid         lot Paid          Paid              Late Paid   Ins Paid   1.1AF/Susp         Other Paid Escrow Bal Prin Bel
                                                                                                                                                                                                  L.
                                                                                                              LIAF
                                                                                                              AUTOMATED
                                                                        Reversal:gym                          TRANS-PMTS
CIA          02/10/2016        1/15/2016             -.75           520 PrIn Only-Cash          UF            & REV                01/15/2016            -.75                 ,00                                                                               -168.46   121,820.15
                                                                        Reversal:Pymt-                        ReverseReappl                                                                        i
OM           02/10/2016         1/15/2016       -1.006.00           500 Cash                    50            y - Misc                                   .00                  .00                                                                               -168,46   121,819.40

CITA                                                                    Unapplied Funds                                                                   .00                 .00                                                  -1,006.00
                                                                        Reversii:Pyrnt-                       Reverst/Reappl
CIA          02/10/2016        12/17/2015       -1,006,00           500 Cash            50                    y- Misc                                     .00                 .00                                                                               -168.46   121,819.40

O'IA                                                                    Unapplied Funds                                                                   .00                 ,00             1                                    -1,006,00
                       .                    -                                                                                                .                                                                                                            ...
                                                                        Revcrsa1;Pynn-                        Reversc/Reappl
CIA          02/10/2016        11/17/2015       -1,006.00           500 Cash            50                    y- Misc              11/01/2015         -313.53          -502,05                                                                                  -168.46   121,819.40
CIA                                                                         ESC 110                                                                       ,00                 ,00       -190. 7
                                                                -           ReverstT,Fymt-                    ReversclItcapp1
CIA                                                                         Cash                              y - Misc                                    .00                 .00
                       -                                                -

GTA                                                                     Unapplied Funds                                                                   .00                 .00                                                       -15 ,
                       .                                                    ,                                                                    ..          -                                                     ,
                                                                        Reversal:Pymt-                        'Reverse/Respell
CIA          02/10/2016        10/16/2015       -L006.00            500 Cash               50                  y - Misc                                   .00_                .00.                                                                                21.71   121,505.87
                       ,                    k                                                             .
                                                                                         '
CIA                                                                     Unapplied Funds                                                                      .00              .00                                                  -1,006.00
                                                                                                                                                                                                                              ._            ,
                                                                        Reversal:Fyint- '                     Revcrse/Rcappl
GTA          02/10/2016         9/17/2015       -1,006.00           500 Cash               50                 y - Misc             09/01/2015-        -311.07          -504.51                                                                                    21,71   121,505.87
GTA                                                                         ESC 80                                                                           .00              .00        -19 .17
                                                                                                                                                                   k
                                                                            Reversal:1, yr*                   Rcversc/Reapp1
CIA                                                                         Cash                              y - Misc                                       .00              .00
                                                                                                          -

CIA                                                                      napplicd Funds                                                                      .00              ,00                                                          -23
                                                            .               y
                                                                        Reversel:Fynn.-                       Reversc/Reappl
CITA         02/10/2016         4/13/2015       -1,006,00           500 Cash            50                    y - Misc                                       .00              ,00                                                                                211,88   121,194.80

CIA                                                                      Unapplied Funds                                                                     .00              ,00                                                  -1,006.00
       ,
                                                                         ReversahAym1-                        Iteversc/Rcappl
OTA          02/10/2016                         -1,006.00           500 Cash             50                   y • Misc                 ,                     .00              ,00                                                                                211,88   121,194.80
                                7/17/2015
                                                                       -

CIA                                                                     Unapplied Funds                                                                      .00 _       • .00                                                     -1,006.00
                                                                        .              ,
                                                                        Reversagynt•                          Reverse/Runt
GTA          02/10/2016         6/17/2015       -1,006.00_          500 Cash             50                   y - Misr             06/01/2015         -307.40          -508.18 ,                                                                                 211,88   121,194.80
                                                                            ,          -
CIA                                                                             ESC 80                                                                       ,00              .00        -190.17
                           ,
                                                                                Reversal:Fyn*                 'Reverse/Rupp
CIA                                                                             Cash                           y - Misc                                      .00              .00
                                                Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 22 of 32




Ditech History: 38461075 History Time Period: Ail                                                                                                                                                                                                             Page 11 o
                                         'Fran           Iran                                                                                                          Escrow
Source   Tram Date      Rack Date        Amount          Code   Trail Desc            Process   Process Dec          Due Paid       Prin Paid         lot Paid         Paid         Late paid   Ins Paid   UAF/Susp         Other Paid Escrow nal Prin Dal
                                                                                                UAF
                                                                                                AUTOMATED
                                                                Reversal:Pymt                   TRANS-PMTS
G'I'A      02/10/2016      10/16/2015        -1,005.75      518 Unapplied Funds UF              &, REV                 10/01/2015       -312,30           -503.28                                                                          -738,97    122,763.75

GTA                                                             ESC 80                                                                      ,00                  .00      -190,17
                                                                                                    UAF
                                                                                                    AUTOMATED
                                                                Reversal;Disb                       TRANS-PMTS
CITA       02/10/2016      10/16/2013              .50      718 Unapplied Funds LIE                 & REV              11/01/2015           ,00                  .00                                                                       -548,80    122,451,45

()TA                                                            Unapplied Funds                                                                 ,00              ,00                                                  ,50
                                                                                                    UAF
                                                                                                    AUTOMATED
                                                                Revcrsal:Pyrrn                      TRANS-PMTS
GTA        02/10/2016     - 10/16/2015            -.50      520 Prin Only-Cash        UF            & REV              10/16/2015           -.50                 .00                                                                       -548.80    122,451,43
                                                                                                    UAF
                                                                                                    AUTOMATED
                                                                Reversal;Dish                       TRANS-PMTS
CIA        02/10/2016      12/17/201$         1,005,75      718 Unapplicd Funds UF                  & REV              12/01/2015               .00              ,00                                                                       -548.80    122,450.95

GTA                                                             Unapplied Funds                                                                 ,00              ,00                                           1,005.75
                                                                                                    uar
                                                                                                    AUTOMATED
                                                                Roversal:Pymt                       TRANS-PMTS
()TA       02/10/2016      12/17/2015        -1,005.75      518 Unapplied Funds LW                  & REV               12/01/2015       -314,78          -500.80                                                                          -548.80    122,430,95
                                    -                                                                            -                -
GM                                                              ESC 80                                                                          ,00              .00       -I9'17                          .
                                                     -                            .
                                                                                                    UAF
                                                                                                    AUTOMATED
                                                                Reversal;Disb                       TRANS-PMTS
GTA        02/10/2016       1/15/2016         1,005.75      718 Unspoiled Funds- UF                 & REV               01/01/2016              .00              .0(1                                                                      458,63      122,136,17
                                         -                                                                                                         ,

()TA                                                            'Unapplied Funds                                                                .00              .00                                           1,005,75
                                                                                                    UAF
                                                                                                    AUTOMATED
                                                              Reversal;Pymt                         TRANS-PMTS
crrA       02/10/2016        1/15/2016       -1,005.75 - .518 Unapplied Funds LW                .
                                                                                                    & REV               01/01/2016       -316,02           -499.56-                                                                         -358.63    122,136.17
0Th                                                              ESC 80                                                                         ,00            ,00         -190,17
                                                                                                                                    .                                             -             ..
                                                                                                    UAF
                                                                                                    AUTOMATED
                                                                Reversal:Dist)                      TRANS-PMTS
OVA        02/10/2016        1/15/2016             .75      718 Unapplied Funds UF                  & REV               02/01/2016               .00              .00                                                                       -168,46    121,820.IS

OTA                                                              Unapplied Funds                                                                 ,00              .00                                                  ,75
                                               Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 23 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                    Page 10 o
                                         Trio            Iran                                                                                                Escrow
Source   Tran Date       Back Date       Amount          Code   'Iran Deg          Process   Process Deg   Due Paid       Prin Paid         lot Paid         Paid         Late Paid   Inc Paid   L/AF/Susp         Other Paid Escrow Bal Prin Bs!

GTA                                                             Unapplied Funds                                                   .00                  .00                                               1.75
                                                                                             11AF
                                                                                             AUTOMATED
                                                                Reversal:Pymt                TRANS-PMTS
GTA        02/10/2016        5/15/2015         -1.75        520 Prin Only-Cash UF            & REV           05/15/2015         -1.75                  .00                                                                      -1,119.31    123,384.70
                                                                                             11AF
                                                                                             AUTOMATED
                                                                Reversal:Dish                TRANS-PMTS
OTA        02/10/2016        7/17/2015      1,005.75        718 Unapplied Funds Ur           & REV           07/01/2015           .00                  ,00                                                                      -1,119.31    123,382.95

GTA                                                             Unapplied Funds                                                   ,00                  .00                                           1,005.75
                                                                                             UAF
                                                                                             AUTOMATED
                                                                Reversal:Pymt                TRANS-PMTS
°TA        02/10/2016        7/17/2015      -1,005.75       518 Unapplied Funds UF           & REV           07/01/2015       -308,61           -506,97                                                                         -1,119.31    123.382.95
CIA                                                             ESC 80                                                            .00                  .00      -190,1
                                                                                             UAF
                                                                                             AUTOMATED
                                                                Reversal;Dlsb                TRANS-PMTS
GTA                                                         718 Unapplied Funds LW           & REV           08/01/2015            .00                 ,00                                                                        -929.14    123,074.34
         _ 02/10/2016        8/13/2015      1,005.75

GTA                                                             Umatilla(' Funds                                                   .00                 .00                                           1,005.75
                                                                                             '1.1Ar
                                                                                              AUTOMATED
                                                                Reversal:Pymt                 TRANS-PMTS
CIA        02/10/2016        8/13/2015      -1,005.75       518 Unapplied Funds UF            & REV          08/01/2015        -309.84          -505,74                                                                           -929,14    123,074.34
CIA                                                             ESC 80                                                                .00              .00       -190,1
                                                                                             UAF
                                                                                             AUTOMATF.D
                                                                Reversal:Dish                TRANS-PMTS
CIA         02/10/2016       8/13/2015            .75       718 Unapplied Funds UF           & REV           09/01/2015               .00              ,00                                                                        -718,97    122,764.50
                                                                                                                      —
CIA                                                             Unapplied Funds                                                       .00              .00                                                   ,75
•                                                                                            UAF'
                                                                                             AUTOMATED
                                                                Reversal:Pyrni               TRANS-PMTS
CIA         02/10/2016       8/13/2015            -,75      520 Prin Only-Cash UF            & REV           08/13/2015           -.75                 ,00                                                                        -738,97    122,764.50
                                                                                             IMF
                                                                                             AUTOMATED
                                                                Roversal:Disb                TRANS-PMTS
OTA         02/10/2016      10/16/2015       1,005.75       718 Unapplied Funds UF           & REV            10/01/2015              .00              .00                                                                         -738.97   122,763.75

CIA                                                             Unapplied Funds                                                       .00              .00                                            1,005.75
                                                  Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 24 of 32




Ditech History: 38461075 History Time Period: AU                                                                                                                                                                                                                           Page 9 o
                                         Tram               Tran                                                                                                         Escrow
Source   Trait Date      Back Date       Amount             Code   Tram Doc          Process    Process Desc  Due Paid               Prim Paid         1st Paid          Paid              1„ te Paid   Ins Paid   1.1AF/Susp       Other Paid Escrow Bal Prim Bal
                                                                                               -Reverse/Reap'
CITA       02/10/2016        7/17/2015 -        1,006.00       100 Fayment:Cash      50         y- Misc                                      .00 ,                .00                                                                            -1,359.88    123,690,88
                    -                                                                                                                                                -                                                          .

GTA                                                                Unapplied Funds                                                           .00                  ,00                                                   1,006,00
                                                                                                   Roverse/Reappl
CiTA       02/10/2016        6/17/2015          1,006.00       100 Payment:Cash      50            y - Misc                                  .00                  .00                                                                            -1,359.88    123,690.88

C.1TA                                                              Unapplied Funds                                                           .00                  .00                                                   1.006.00
                                                                                                   Reverse/Reappl
GTA        02/10/2016        5/15/2015            953,23       100 Paymern:Cash      50            y- Misc                                   ,00                  .00                                                                            -1,359,88    123,690.88
                                                                                                                                                                                       ,
CITA                                                               Unapplied Funds                                                               .00              .00                                                     953,23

                                                                   Disbursement; Es
G'l'A      02/10/2016                             -50,40       210 crow Only        02             Esc Disb-PM1                                  .00              .00              i                                                             -1,359.88    123,690,88
                                                                 -                                                  -                _                                                                             a
CiTA                                                               E$C 80                                                                        .00              .00        -50.4 '
                                                                                               ,
                                                                                                   UAF
                                                                                                   AUTOMATED
                                                                   Reversal:Dist)                  TRANS-PMTS
OTA        02/10/2016        5/15/2015          1,005.75       718 Unapplied Funds UP              & REV                05/01/2015               .00              .00                                                                            -1,309.48    123,690,88

GTA                                                                Unapplied Funds                                                               .00              .00                                                   1,005,75
                                                                                               - UAF
                                                                                                 AUTOMATED
                                                                   Reversal:Pymt                 TRANS-PMTS
GTA        02/10/2016        5/15/2015          -1,005,75      518 Unapplied Funds UF            & REV                  05/01/2015        -306.18          -509.40                                                                               -1,309.48    123,690.88
                                                                                                                                                                                                                                    ,
GTA                                                                ESC 80                                                                        .00 _            .00        -19 .17                                                    -
                         .                                                           -
                                                                                                   UAF
                                                                                                   AUTOMATED
                                                                   Reversal Disb                   TR.ANS-PMTS
CiTA        02/10/2016       5/15/2015             36,77                            1,
                                                               718_Unapplied Funds LW              & REV                06/01/2015               .00               .00                                                                            -1,119.31    123,384.70
                                      -                                                        -

OTA                                                                Unapplied Funds                                                               .00               .00                                                     36.77
                                           ..
                                                                                                   UAF
                                                                                                   AUTOMATED
                                                                   Reversal:Pymt                   TRANS-PMTS
                                                                                                                                                                                                                                    ,
GTA         02/10/2016        5/15/2015            -36.77      $18 Unapplied Funds UF              & RV                 06/01/2015,              .00               ,00                                                                            -1,119,31    123,384.70

GTA                                                                Late Fee Amount                                                               .00               .00                            -36.77
                                                                                                   uAr
                                                                                                   AUTOMATED
                                                                   Reversal:Dist)                  TRANS-PMTS
GTA         02/10/2016        5/15/2015              1.75      718 Unapplied Funds UP              & nv                                          .00               .00                                                                            -1,119.31    123,384.70
                                                 Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 25 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                                                Page 8 o

                                           Iran           Iran                                                                                                                Escrow
Source   Iran Date        Back Date        Amount         Code    Trait Doc             Process       Process Desc          Due Paid       Prin Paid         lot Paid         Paid         Late Paid   Ins Paid   CAF/Susp        Other Paid Escrow Bal Prin Bal

GTA                                                               ESC 80                                                                           .00                  .00       190.17                                                    ,
                          -                               —                                       '                                                                                                               —
                                                                                                      UM?
                                                                                                      AUTOMATF.D
                                                                  Disbursement:1.1n                   TRANS-PM'I'S
GTA          02/10/2016                      -1,005.75        218 applied Funds     UF                & REV                   06/01/2015           .00                  .00                                                                         -1,169.71       123,384.70

GTA                                                               Unapplicd Funds                                                                  .00                  ,00                                           -1,005.75 ,
                                                                                                                                                                                                                  _
                                                                                                      UAP
                                                                                                      AUTOMATED
                                                                   Payment:Unappli                    TRANS-PM'I'S
GTA          02/10/2016                       1,005.75        118 ed Funds ,       UP                 & REV                   05/01/2015        306.18            509.40                                                                            -1,169.71       123.384,70
                                                         t-      -                                                                                                                                                                              ,
GTA                                                                ESC 80                                                                          .00                  .00       190.1?
                                                                                                      U Ar          '
                                                                                                      AUTOMATED
                                                                  Disbursement:Un                     TR ANS-PM'I'S
GTA          02/10/2016                       -1,005.75       218 applied Funds   LIF                 & REV                   05/01/2015               .00              ,00                                                                         • 1,359,88      123.690.88

CIA                                                                   Unupplied Funds                                                                  .00              ,00                                           -1,005.75
                                                                                                          Reverse/Rapp!
GTA          02/10/2016       1/15/2016-      1,006,00        100 Parnell:Cash          50                y- Wu:                                       .00              .00                                                                         • 1.359.88      123,690,88
                                                      -                                                                                                                                    .

GTA                                                                   Unupplied Funds                                                                  ,00              .00                                            1,006,00
                                                                                                                                           .              —
                                                                                                          Rcverse/Reappl
CIA          02/10/2016       12/17/2015      1.006,00        100 Payment:Cash          50                y - Misc                                     .00              ,00                                                                         4,359.88        123,690,88

GM                                                                    Unapplicd Funds                                                                  .00              ,00                                            1.006.00
                                                      —                                                                                                                                    -
                                                                                                          Reverse/Real:1M
Gra          02/10/2016       11/17/2015       1,006,00       100 Payment:Cash          $0                y- Mlsc                                      ,00              .00                                                                         • 1,359.88      123,690,88
                                                      -                                                                                    -
GIP.                                                                  Unapplicd Funds                                                                  .ao              ,013_                                          1,006.00                                                  .
                                                                                        ,             -
                                                                                                          Reverse/Real* -
GTA          02/10/2016       10/16/2015       1,006,00       100 -PaYme111:Cash        50                y - Misc                                     .00              .00                                                                         -1,359,88       123,690,88
                                                                                                                                                                                                                                  ,

GTA                                                                   Unapplied Funds                                                                  .00               .00                                           1,006.00                                 -
         ,                                                .                                               .
                                                                                                           ReverseiReappl -
GTA          02/10/2016        9/17/2015       1,006.00       100 PaYment:Cash          50                y- mise                                      .00               ,00—                                                                       • 1,359.88       123,690.88

GTA                                                                   Unapplied Funds                                                                  ,00               ,00                           .               1,006,00
         ,                                                        ,
                                                                                                          Reversc/Reappl
GTA          02/10/2016        8/13/2015       1,006.00 _     100- Payment:Cash         50                y - Misc                                     .00 _             .00 _                                                                       -1,359.88       123,690.88

GTA                                                                   Unapplied Funds                                                                  .00               .00                                            1,006.00
                                               Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 26 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                            Page 7 o
                                     Iran            Trait                                                                                                         Escrow
Source   Tran Date       Back Date   Amount          Code         Trait Desc        Process       Process Desc   Due Paid       Prin Paid         lot Paid         Paid         Late Paid   Ins Paid   UAF/Susp        Other Paid Escrow Bel Prin Sal
                                                                                                  UAF
                                                                                                  AUTOMATED
                                                            Disbursement:Un                       TRANS-PMTS
GTA        02/10/2016                    -1,005.75      218 applied Funds   UP                    & REV            10/01/2015           .00                  .00                                                                      -409,03   122,147.81

arA                                  .
                                                                  Unapplied Funds
                                                                                    .                                       ,
                                                                                                                                        .00                  .00                                          -1,005.75
                                                             ..
                                                                                                  UAF
                                                                                                  AUTOMATED
                                                            Payment:Unappli                       TRANS-PMTS
GM         02/10/2016                    1,005,75       118 td Funds        UF                    & REV     •      09/01/2015        311.06            504,52                                                                         -409.03   122,147.81
                        ,                                                                     ,                                                   ,
GTA                                                               ESC 80                                                                .00                  ,00       190,17
                                                                                                  UAF
                                                                                                  AUTOMATED
                                                            Disbursemont:Un                       TRANS-PMTS
GM         02/10/2016                    -1005,75       218 applied Funds   UF                    & REV            09/01/2015           .00-                 .00                                                                      -599.20   122,458.87

GTA                                                               Unapplied Funds                                                       .00                  ,00                                          -1,005.75
                        .                                                                                                   .
                                                                                                  UAF
                                                                                                  AUTOMATED
                                                             PaymentiUnappli                      TRANS-PM'l'S
CIA        02/10/2016                     1,005,75       118 ad Funds        UF                   & REV            08/01/2015        309.83            505.75                                                                         -599.20   122.458.87
DTA
                                     -
                                                                  r.se 80                                                               .00                  .on       190,17
                                                                                                  UAF
                                                                                                  AUTOMATED
                                                             Disburscinent:Un                     TRANS-PMTS
WA         02/10/2016                    .1.005,75       218 applied Funds    UF                  & REV            08/01/2015               .00              ,00                                                                      -789.37   122,768.70

CITA                                                              Unapplied Punds                                                           .00              ,00                                          .1,005.75
                                                                                              —
                                                                                               UAF
                                                                                               AUTOMATED
                                                             Payment:Unappli                   TRANS-PMTS
CIA        02/10/2016,                    1,005,75       118 ed Funds        UF                & REV               07/01/2015        308.61            506,97                                                                         -789.37   122,768.70
OTA                                                               -ESC 80                                                                   .00              ,00       190.17
                                                                                                  UAT,
                                                                                                  AUTOMATED
                                                             Olsbursement:Un                      TRANS-PMTS
OTA        02/10/2016                    -1,005,75       218 applied Funds   UP                   & REV            07/01/2015               .00              ,00                                                                      -979,54   123,077.31

MA                                                                Unapplied Funds                                                           .00              ,00                                          • 1,005,75
                                                                                                  UAP
                                                                                                  AUTOMATED
                                                             Payment:Unappli                      TRANS-PMTS
am         02/10/2016                     1,005.75       118 ed Funds        UF                   & REV            06/01/2015        307,39            508.19                                                                         -979.54   123,077.31
                                                 Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 27 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                           Page 6 at
                                          Tran            Trim                                                                                                    Escrow
Source   'Fran Date       Back Date       Amount          Code   'Fran Desc         Process   Process Desc     Due Paid        Prin Paid         Int Paid         Paid          Late Paid   Ins Paid   CAF/Susp       Other Paid Escrow Bal Prin Bal
                                                                  Payment:Prin                Reverse/Reappl
GTA        02/10/2016         5/15/2015          36.77        120 Only-Cash         50        y • Misc           05/15/2015          36,77                  .00                                                                      351.65    120,854.46
                                                                                              UAF
                                                                                              AUTOMATED
                                                                  Payment:Unappli             TRANS-PMTS
CIA                                                           118 ed Ftmds        111         8c REV             01/01/2016         316.01           499.57                                                                          351.65    120,891.23
         , 02/1 0/2016,                       1,005.75
CIA                                                               ESC 80                                                                  .00               .00       190.1'
                                                                                              UAF
                                                                                              AUTOMATED
                                                                  Disbursement:Un             TRANS-PMTS
GTA        02/10/2016                         -1,005.75       218 applied Funds   UP          & REV              01/01/2016               .00               .00                                                                      161.48    121.207,24

0Th                                                               Unapplied Funds                                                          .00              .00                                           -1.005.75
                      „
                                                                                              UAF
                                                                                              AUTOMATED
                                                                    Payment:Unoppli           TRANS-PMTS
GM          02/10/2016                         1,005,75       1 1 g ed Funds        UP        & RV               12/01/2015         314.76            500.82                                                                          161,48   121,207,24
CT,".                                                             ESC 80                                                                   .00              .00       190.1
                                                                                              UAF
                                                                                              AUTOMA'TED
                                                                  Disbursement:lin            TRANS-PMTS
GTA         02/10/2016                        -1,005,75       218 applied Funds    UF         & REV              12/01/2015                .00              ,00                                                                       -28,69   121,522,00

CIA                                                               Unapplied Funds                                                          .00              .00                                           -1.005.75 ,
                                                                                              UAF
                                                                                              AUTOMATED
                                                                  Payment:Unappli             TRANS-PMTS
GTA         02/10/2016                         1.005,75       118 ed Funds        UV          & REV              11/01/2015         313,52            502.06                                                                          -28.69   121,52100
CIA                                                               ESC 80                                                                   .00              ,00       190. 7
                                                                                              UAF
                                                                                              AUTOMATED                               ,
                                                                  Disbursement:Un             TRANS-PMTS
GTA         02/10/2016                        -1,005.75       218 applied Funds   UF          & REV              11/01/2015                .00              .00                                                                      -218.86   121.835,52
                                                          .     ,

CIA                                                               Unapplied Funds                                                          ,00              .00                                           -1,005,75
                                                          ,
                                                                                              UAF
                                                                                              AUTOMATED
                                                                  Payment:Unappli             TRANS-PMTS
CITA        02/10/2016                         1.005,75       118 ed Funds        Ur          & REV               10/01/2015         312,29           503,29                                                                         -218.86   121.835,52
                                          _                      -
CIA                                                               ESC 80                                                                   .00              .00        190,17
                                                   Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 28 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                                 Page 5 01.
                                          Tran            Tran                                                                                                       Escrow
Source   Tran Date        Back Date       Amount          Code    Tran Desc         Process       Process Desc     Due Paid       Prin Paid         Int Paid         Paid         Late Paid       Ins Paid   LIAF/Susp       Other Paid Escrow BM Prin Bal


                                                              Reversal:Pymt                       HMP Incentive
GM         03/30/2016          1/1/2016       -5,000.00   520 Prin Only-Cash C7                   Credit             01/01/2016     -5,000.00                  .00                                                                          681.59   120,137.89     LL
                                                              Adjustment: Prn                     No Tran Cat
GTA        03/29/2016                              .00 ADJ    & let           NC                  Needed             04/01/2016         39.66            -39.66                                                                             681.59   115,137.89
                                                              Payment:Prin                        HMP Incentive
GTA        03/29/2016          1/1/2016       5,000.00    120 Only-Cash       C7                  Credit             01/01/2016      5,000,00                  .00                                                                          681.59   115,177,55

                                                                  DisburseinentEs
GTA        03/17/2016                           -50,40        210 crow Only       02              Esc Disb-PM1                            .00                  .00                                                                          681,59   120,177,55
GTA                                                               ESC 80                                                                  ,00                  .00       .50.40
                                                      -                                                                                                                                                                  _
                                                                                                  UAF
                                                                                                  AUTOMATED
                                                                  Payment:Unappl I                TRANS-PMTS
GTA        03/11/2016                         1,005.75        lig ad Funds         UF             & REV              03/01/2016        338,54            477,04                                                                             731.99   120,177,55
GTA                                                               ESC 80                                                                  .00                  .00       190.17
                                                                                                  UAF
                                                                                                  AUTOMATED
                                                                  Disbursement:Un                 TRANS-PMTS
PTA        03/11/2016                         .1,005,75       218 applied Funds   UF              & REV              03/01/2016           .00                  .00                                                                          541.82   120.516,00

GTA                                                               Unapplled Funds                                                         .00                  .00                                              -1,005.75
                                      -                                           .
                                                          -       Mellon Chiemgo,
GTA        03/11/2016                         1,006.00        112 IL               36             Mellon-Chicago                          .00                  .00                                                                          541,82   120,516.09

CIA                                                               Unapplied Funds                                                         .00                  .00                                               1,006.00
                                                                                    ,..                                       -
                                                                                                  UAF
                                                                                                  AUTOMATED
                                                                  Payment: Unappli                TRANS-PMTS
CIA        02/17/2016 ,                       1,005.75        118 ad Funds         UF             & REV              02/01/2016        337.20            478.38,                                                                            541.82 - 120,516.09
GTA                                                               Esc 8o                      .                                           ,00 ,             .00          190.17               _
                                                                                                                              -
                                                                                                  UAF
                                                                                                  AUTOMATED
                                                                  DisbursementUn                  TRANS-PMTS
CIA        02/17/2016
                                          .   -1,005.75       218 applied Funds  UF               & REV              02/01/2016               .00              .00,                                                                   ,     351,65   120,853.29

CIA                                                               UnappIled Funds                                                         ,00                  .00 ,                                             -1,005,75
                                          ,                                                                                                                                                                                            ,
                                                                  Mellon Chicago,
CIA        02/17/2016                         1,006.00        112 IL              36              Mellon-Chicago                              .00              .00                                                                          351,65   120,853,29

GTA                                                               Unapplied Funds                                                         .00                  .00                                                1,006.00
                                                                  Adjustment Pm                   No Iran Cat
CIA        02/10/2016                               .00 ADJ       & Int           NC              Needed             02/01/2016          1.17             -1.17                                                                             351.65   120,853.29
                                                    Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 29 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                                 Page 4 oi
                                           Iran           Tran                                                                                                       Escrow
Source   Tran Date         Back Date       Amount         Code    Tran Dec            Process   Process Desc   Due Paid           Prin Paid         Int Paid         Paid         Late Paid     Ins Paid   ICAF/Susp       Other Paid Escrow Bal Prin Del
                                                                                                Automated
                                                                                                Paymentus
MSP          09/16/2016                       1,021,92         172 Payments           883       Transaction        09/01/2016          340.10           493,69           188.13                                                          1,204.23   118,146.32
                                       _
                                                                                                Automated
                                                                                                Paymentus
MSP          08/16/2016                             .08        175 Prin Payment       8S3       Transaction        09/01/2016             .08                  .00                                                                       1,016.10   118,486.42 '
                                                                                                               ,
                                                                                                Automated
                                                                                                Paymentus
MSP          08/16/2016                       1,021,92         172 Payments           883       Transaction        08/01/2016          338.69           495.10           188.13                                                          1,016.10   1I8.486.50(
                       .
                                                                                                AC1-1                                                                                                                                                              r
MSP          07/26/2016                        -698.00         351 Hazard Ins Disb 925          Transaction        08/01/2016             .00                  .00      -698.00                                                           827.97    118,82,5.19
                                                                                                Automated
                                                                                                Paymentus
MSP          07/16/2016                             .08        175 Prin Payment       8S3       Transaction        08/01/2016             .08                  .00                                                                       1,525,97   118,825.19
                                                                                                                                  ,
                                                                                                Automated
                                                                                                                                                                                                                                                                   6,11/'
                                                                                                Paymentus
MSP          07/16/2016                       1,021,92         172 Payments           883       'Transaction       07/01/2016          337,28            496,51          188.13                                                          1,525.97   118.825.27
                                                                                                Automated
                                                                                                Paymentus
MSP          06/16/2016                             .26        175 Prin Payment       883       Transaction        07/01/2016             .26                  .00                                                                       1,337.84   119,162.55
                                                          .,
                                                                                                Automated
                                                                                                Paymentus
MSP          06/16/2016                       1,035.74         172 Payments           883       Transaction        06/0 I /2016        335.88            497.91          201.95                                                          1,337.84   119,1481
                                                                                  ,
                                                                                                'Manual
MS?          06/04/2016                             ,00        175 Prin Payment       SAC        Transaction       06/01/2016            4,25                  .00                                                -4,25                  1,135.89   119,498.69
                                                                  -                                                                                                           -
                                                                                                Manual
MSP          06/04/2016                             .00        147 Misapp Rev         5AA       Transaction        06/01/2016                 ,00              ,00                       -425                      4.25                  1,135,89   119,502.94
                                                                                                Automated
                                                                                                Paymentua
MSP          05/16/2016                             26         175 Prin Payment       883       Transaction        06/01/2016                 ,26              .00                                                                       1,135.89   119,502.94
                                                      -           -
                                                                                                Automated
                                                                                                Payincntus
MSP          05/16/2016                       1,035.74         172 Payments           883       Transaction        05/01/2016          334.47            499.32          201,95                                                          1,135.89   119,503,20
                                                                                                Automated
                                                                                                Paymentus
MSP          04/18/2016        4/17/2016      1,072,18         172 Payments           8S3       Transaction        04/01/2016          339,88            475,70          252,35          4,25                                              933,94   119,837.67
                                                                                                Automated
                                                                                                Paymcntus
MSP          04/18/2016        4/17/2016      -1,072.18        172 Payments           883       Transaction        04/01/2016                 .00              .00                                             -1.072,18                   681.59   120,177.55
         ,
                                                                                                Automated
                                                                                                Paymentus
MSP          04/18/2016        4/17/2016      1,067.93      172 Payments       883              Transaction        04/01/2016                 .00              .00                                              1,067.93                   681,59   120,177,55
                                                                Adjustment: Pm                  No "Iran Cat
CIA          03/30/2016                             .00 ADJ     & Int          NC               Needed             04/01/2016           -39,66            39.66                                                                            681,59   120,177,55
                                             Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 30 of 32




Ditech History: 38461075 • History Time Period: All                                                                                                                                                                                                  Page 3 o
                                        Tran            Trail                                                                                              Escrow
Source   Trot Date      Back Date       Amount          Code      'rran Desc   Process    Process Dec    Due Paid       Prin Paid         hit Paid         Paid          Lato-Ifitid     Ins Paid   CAF/Sup   Other Paid Escrow Bal Prin Bill
                                                                                                                                                                           r
                                                                                          Automated                                                                      /
                                                                                          Paymentus
MSP        04118/2017                       936,00         172 Payments        8S3        Transaction      04/01/2017        276.46           484.20           175.3g              .02                                      1,209.14    115,930.61
                                                                                      _   Automated
                                                                                          Paymentus
MSP        03/16/2017                         10.00        175 Prin Payment    8S3        Transaction      04/01/2017         10,00                  .00                                  "-                                1,033.82    116,207,07
                                                                                                                                                                              ,-
                                                                                          kAutomated
                                                                                          Paymentus
MSP        03/16/2017                        935,98        172 Payments        853        Transaction      03/01/2017        275.28            485.38          175.32                                                       1,033.82    116,217.07
                                                                                          Automated
                                                                                          Paymentus
MSP        02/16/2017                            4,02      175 Prin Payment    853        Transaction      03/01/2017          4.02                  ,00                                                                      858.50    116,492,35
                                                                                          'Automated
                                                                                           Paymentus
MSP        02/16/2017                        935,98         172 Payments       883         Transaction     02/01/2017        274.12            486.54          175.32                                                         858,50    116,496.37
                                                                                           Automated
                                                                                           Paymentus
MSP        01/16/2017                             .89       175 Prin Payment   853         Transaction     02/01/2017           .89                  .00                                                                      683.18    116,770.49
                                                                                          - Automated
                                                                                           Paymentus
MSP        01/16/2017                      1.009.11         172 Payments       8S3         Transaction     01/01/2017        345.80            487.99          175.52                                                         683,18    116,771.38
                                                                                           Automated
                                                                                           Paymentus
MSP        12/16/2016                             ,08       175 Prin Payment   8S3         Transaction     01/01/2017               .08              .00                                                                      507.86    117,117.18
                                                                                           Automated
                                                                                           Paymentus
MSP        12/16/2016                      1,021,92         172 Payments       853         Transaction     12/01/2016        344.37            489.42          188,13                                                         507,86    117,117.26
                                                                                           Automated
                                                                                           Paymentus
MSP        11/16/2016                             mg        175 Pen Payment    8S3         Transaction     12/01/2016               .08              .00                                                                      319.73    117,461.63
                                                                                           Automated
                                                                                           Paymentus
MSP        11/16/2016                      1,021,92         172 PaymentS       853         Transaction     11/01/2016        342.94            490,85          188,13                                                         319,73    117,461.71
                                                                                           Automated
                                                                                           Paymentus
MS?        10/17/2016      10/16/2016             .08       175   Nu Payment   8S3         Transaction     11/01/2016               .08              .00                                                                      131,60    117,804.65
                                                                                           -Automated
                                                                                           Paymentus
MSP        10/17/2016      10/16/2016      1,021.92         172 Payments       853         Transaction     10/01/2016        341.51            492,28          188.13                                                          131,60   117.804.73

MSP        10/17/2016                      -1,260.76        312 County Tax Disb EGL        Transaction     10/01/2016               .00              ,00     .1,260,76                                                         -56,53   118,146.24
                                                                                           Automated
                                                                                           Paymentus
MSP        09/16/2016                             .08       175 Prin Payment   8S3         Transaction     10/01/2016               .08              .00                                                                     1,204.23   118,146.24
                                                 Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 31 of 32




Ditech History: 38461075 History Time Period: All                                                                                                                                                                                                          Page 2 ot

                                        Tran            Iran                                                                                                     Escrow
Source   Tran Date      Back Date       Amount          Code   Tran Desc       Process        Process nese   Due Paid         Prin Paid         Int Paid         Paid           Late Paid   Ins Paid   UAF/Susp      Other Paid Escrow Bal Prin BEd
                                                                                              Automated
                                                                                              Paymentus
MSP        11/16/2017                         940.00       172 Payments        8S3            Transaction        11/01/2017        284.78           475.88           179,34                                                         140,46    113,926.02
                                                                                              Automated
                                                                                              Paymentus
MSP        10/16/2017                         940,00       172 Payments        8S3            Transaction        10/01/2017        283.60           477.06           179.34                                                          -38.88   114,210.80

MSP        10/11/2017                       -1,498,80      312 County Tax INA EGL          Transaction           10/01/2017           .00                  .00     -1.498,80                                                        -218.22   114,494,40
                                                                                         .,
                                                                                           Automated
                                                                                           Paymentus
MSP        09/16/2017                            9.06      175 Prin Payment    8S3         Transaction           10/01/2017          9,06                  ,00                                                                     1,280.58   114,494.40
                                                                                           Automated
                                                                                            Paymentus
MSP        09/16/2017                         930.94       172 Payments        8S3         Transaction           09/01/2017        282.39            478.27          170,28                                                        1,280,58   114,503.46
                                                                                           Automated
                                                                                            Paymentus
MSP        08/16/2017                            9,06      175 Prin Payment    853          Transaction          09/01/2017          9,06                  .00                                                                     1.110,30   114,785,85
                                                                                            Automated
                                                                                            Paymentus
MSP        08/16/2017                         930,94       172 Payments        853          Transaction          08/01/2017        281.18            479.48,         170,28                                                        1,110.30   114,794,91
                                        -
                                                                                            AC11
MSP        07/26/2017                        .785,00       351 Hazard Ins Disb 925          Transaction          08/01/2017               .00              ,00       -785.00                                                         940,02   115.076,09
                                                                                          - Automated        -
                                                                                            Paymentus
MSP        07/17/2017       7/16/2017            9.06      175 Prin Payment    8S3          Transaction          08/01/2017           9.06                 .00                                                                     1,725.02   115,076.09
                                                                                            Automated
                                                                                            Paymentus
MSP        07/17/2017       7/16/2017         930.94 ,     172 Payments        853          Transaction          07/01/2017        279.97            480.69           170,28                                                       1,725,02   115,085.15
                                                              ,                             Automated
                                                                                            Paymentus
MSP        06/16/2017                            9.06      175 Prin Paytnent   8S3          Transaction          07/01/2017           9,06                 .00                                                                     1,554,74   115,365.12
                                    -
                                                                                            Automated        A
                                                                                            Paymentus
MSP        06/16/2017                         930,94-      172 Payments        853          Transaction          06/01/2017        278,77-           481.89           170,2 .                                                      1,554.74   115,374.18
,                                                                                                                                                                                                                              .
                                                                                            Automated
                                                                                            Paymentus
MSP        05/16/2017                             .02      175 Prin Payment    SSa          Transaction          06/01/2017               .02.             ,00                                                                     1,384.46   1 15,652.95
                                        .
                                                                                            Automated        A
                                                                                            Paymentus
MSP        0546/2017                           935,98      172 Payments        8S3          Transaction          05/01/2017         277,62           483.04 .         175,32                                                       1.384.46   115,652,97
                                                                                            Automated
                                                                                            Suspense
MSP        04/24/2017       4/19/2017             .00      175 Prin Payment    8F1          Transaction          05/01/2017               .02              .00                                                    -.02             1,209.14   115,930.59
MSP        04/19/2017                             .00      173 Payments        4CC            Transaction        05/01/2017               ,00              .00                          -.02                      .02              1,209.14    115,930.61
                                                  Case 1:17-cv-03370-AT Document 43-1 Filed 12/19/18 Page 32 of 32




                                                                                                                                                                                                                                                 Page 1 ou
Ditech History: 38461075 Histor Time Period: All
                                         'Iran           Iran                                                                                           Escrow
         Tran Date       Back Date       Amount          Code   Iran Desc -    Process   Process Den     Due Paid       Prin Paid      Int Paid         Paid          Late Paid   Ins Paid   11AF/5i/so    Other Paid Escrow Bal Prin Bal
Source
                                                                                         Automated
                                                     _                                   Paymentus                                                                                                                                               1
                                                  3,13      175 Prin Payment   853       Transaction       07/01/2018          3.13               .00                                                                     763.35    111,840.75
MSP        06/16/2018
                                                                                         Automated
                                                                                         Paymentus
                                                                               853       Transaction       06/01/2018        293.42        467.24           236.21                                                        76 .35    111,843.88
MSP        06/16/2018                        996.87         172 Payments

                                                                                                                                                  .00      -635.00                                                        52T4" 112,137.30/-
MSP        06/14/2018                        -635.00        351 Hazard Ins Disb IIAS     Transaction       06/01/2019           .00
                                                                                         Automated
                                                                                         Paymentus
                                                            175 Prin Payment   853       Transaction       06/01/2018          9.06               .00                                                                    1,162.14   112,137.30
MSP        05/16/2018                             9.06
                                                                                         Automated
                                                                                         Paymentus
                                                                               853       Transaction       05/01/2018        292.17         468.49          170.28                                                       1,162.14   112,146.36
MSP        05/16/2018                        930.94         172 Payments
                                                                                         Automated
                                                                                         Paymentus
                                                  9,06      175 Prin Payment    8S3      Transaction       05/01/2018           9.06              .00                                                                     991,86    112,438.53
MSP        04/16/2018
                                                                                         Automated
                                                                                         Paymentus
                                              930.94                            8S3      Transaction       04/01/2018        290.92         469.74          170.28                                                         991.86   112,447.59
MSP        04/16/2018                                       172 Payments
                                                                                         Automated
                                                                                         Paymentus                                                                                                                                               '
                                                            175 Prin Payment    853      Transaction ,     04/01/2018           9.06              .00                                                                      821,58   112,738.51
MSP        03/16/2018                             9.06
                                                                                         Automated
                                                                                         Paymentus
                                              930;94        ( 72 Payments       853      Transaction       03/01/2018         289.67        470.99           170,28                                                        821,58   112,747.57
MS?        03/16/2018
                                                                                         Automated
                                                                                         Paymentus                                                                                                                                               i
                                                            175 Prin Payment    893      Transaction       03/01/2018           9.06              ,00                                                                      651,30   113,037.24
MSP        02/16/2018                             9.06
                                                                                         Automated
                                                                                         Paymentus                                                                                                        --


                                                                                853      Transaction       02/01/2018         288.43        472.23           170.28                                                        651.30   113.046,30
MSP        02/16/2018                         930,94        172 Payments
                                                                                         Automated
                                                                                         Paymentus
                             1/15/2018            9.06      175 Prin Payment    853      Transaction        02/01/2018          9.06              .00                                                                      481.02   113,334.73
MSP        01/16/2018
                                                                                         Automated
                                                                                         Paymentus
                                              930.94                            863      Transaction        01/01/2018        287.20        473,46           170.28                                                        481,02   113,34379
MSP        01/16/2018        1/15/2018                      172 Payments
                                                                                         Automated
                                                                                         Paymentus
                                                  9.06      175 Prin Payment    863      Transaction        01/01/2018          9.06              .00                                                                      310.74   113,630,99
MSP        12/16/2017
                                                                                          Automated
                                                                                          Paymentus
                                                                                                                                                                                                                           310.74   113.640.05       1.
MSP         12/16/2017                        930.94         172 Payments       8S3       Transaction       12/01/2017        285.97        474,69           170.28
